 

Case 7:15-cv-OO465 Document 1-5 Filed in TXSD on 11/06/15 Page 1 of 70

lNCOME CAP|TAL|ZAT|ON APPROACH (continued)

cash flow to the equity investor for the first year ot the protected period divided by the initial equity
investment.

The overall capitalization rate must satisfy both the mortgage capitalization rate requirement
et the lender and the equity dividend requirement of the equity lnvestor. Mortgage-equity analysis
can be considered as a composite rate, weighted in proportion to the total property investment
represented by debt and equity. The overall capitalization rate is a weighted average of the
mortgage capitalization rate (RM) and equity capitalization rate (RE). Tt\e loan-to-va|ue ratio (M)
represents the loan or debt portion of the property and the equity ratio (E) represents the equity
portion of the property. The sum of M and E is lOO% or i.OO.

Typ|cal mortgage terms and conditions may be obtained by surveying lenders active in the
market area. Equity capitalization rates are derived from comparable sales by dividing the annual
equity dividend ot" each sale by the equity investme_nt. The equity capitalization rate used to
capitalize the subiect property's equity dividend ultimately depends on the appraiser's ludgment.
The appraiser surmises how the investors perceive the relationship between market value and
investment value. This is preferably by interviewers with local investors and developers

When the mortgage and equity capitalization rates and ratios are known, an overall
capitalization rate may be derived with the band-of-investment, or weighed-average techniques

using the following formul'as:

0 Mortgage Component = Mortgage Ratio (M) X N\ortgage Rate (R-M)
¢ Equity Component = Equity Rat|o (E) X Equity Capitalization Rate (RE)
0 Overaii Ratio (R'Q) = Mortgage Component + Equity Component or Ro= (M x RM) + (E x RE)

(The Apprai'sal of Reai Estate,- Thirteenth Edition; Appraisal lnstitute; pages 50`5-507.)

|n the case of the subiect property, the overall capitalization rate is calculated applying the
band-'of-investment technique using characteristics derived interviews with local developers and
investors, from comparable sales, from Korpacz Real Estate investor Survey, or from RealtyRates.com.

Current indications are presented as foilows:

 

Aguirr_e & Patterson, inc. Page 64
Appraisa| Report of the Textbook Buiiding

 

Case 7:15-cv-OO465 Document 1-5 Filed in TXSD on 11/06/15 Page 2 of 70

lNCOME CAP|TALlZATlON APPROACH (continued)

  
   
 

i't_enllqnatos.emn |N¥ESTDH':`;UH¥EY - Eml'i?zilatte_l 201-\"
lNDUS_'|"Hl!-\|. - VA|=\E|'|OUSES h DlS-IREB\|TIUN‘CEN;TERB

  
        
   

 
 

 

     

_S_vrséd_O_ts'iO_-Ye_art'sss_u_'_s °'94='- DEF~‘_Twhniq“€

l.i§- 0.04?5?3 § 0.8_0 4.$2
_Del)_t¢ouetqggi=is_tlo 1.15 Band otlnuestmentTeot»iniqu¢» _
interest Ftate _ __ 3.61$% iviottgage _i SUHE llEl~i’i'E'iS-' 0.04_2815
immunization l _ to springv ' toz'.f_ oor¢-iss} o._oo?-i_is
M.qng,g_g¢_c;_p_n§z_sgr mims cme ; _ § 5_03
Loar\-lo"_Val_ue Fialio _ Bu_we§eq Rates l __ 4.7?

  
       

_Eq_u__it Dtvido_ndl'jiale

   

__;_te‘!a_, m__ - _ _ __ _ __ _ __
9mmCir€'_i¢-_tsar_i'm_w_u 3-35% i-T!_CB Te'_>':“\_iq.\ie t-H_U_: 0-101652. 0-60 1159
Q_s_biQP_tstes_eFté\is isn Ba“d°"r)_vsftmmifwh_"iq“s __ ,

pretenses _> saw signsng _. soz_§ 0.101652§ o,t_asoaei
Amomzsiion _1_6` equity _ _ ` 49-_/.§ 0.153837:; o_os_'._s_si§
M¢>_"sass_'?snsisv! 0-‘°\552 Q$Ft _ 1225
Loa_n-to»_Va|us i_:tatio_ ` 60!/. t:_i_utt.t_e§_ed Fla\_es lt.B'¢

Equit i_Jivicie_nd Fiete 15.38‘

  
 

   

 
     
     

 

 

 

 

 

 

Sptead Uue: i_U-“(_eatT_re_a_su_l__§i _ _ _ 2__.15_% ll_i£_`._Fl technique ' L$_S_ _9.085950_; lJ.i`El §.86
pebli_?ouer_agefistio 1.39 '_Band of lnuosln_\c_~n! _Tec!\nique _ _

|_n_tstestFtate \ 7 4._8_6'/: _Mottgage_ "__ __ _ -__¥E:/. 0_0$5$50.: D,_itt_-SIIBZ_
immunizeth 23 squlig_ __ _ ____ aim __o_tti_;\ir_r;‘ o.oz?sit _
Ms'_¥s?_ss_¢s'tstsnf _ °-065950 _OAF* z _ _ z _ :: 110
Loan-to»iia|ue Ralio ?5?: Sulue§ed Rales _ _ 8.48`
Equitg oivid@nd new it,uzv. ' -

'1sk Guar!¢r 2014 Datu Copylight 2014 Reo|lyRazea.com “‘

The following data is utilized to develop the capitalization rate using the band of investment

 

techniquel
l Mortgage ratio: 70%
¢ interest rate: 6%
0 T_erm: 20 year amortization, paid monthly
0 Mortgage Rate or Mortgage Constant: 0.085972
0 Equity Capita|ization Rate: i'.)°/o
Aguirre _& Patterson, inc. Page 65

Appralsal Report of the Textbook Building

 

Case 7:15-cv-00465 Document 1-5 Filed in TXSD on 11/06/15 Page 3 of 70

lNCOME CAP|TAL|ZAT|ON APPROACH (continued)

The capitalization rate is calculated a_s follows:

 

-M'ort_gag_e Ratio_- Mortg_age Rate- _ _
0.70 x 0.085972 0'.060'18_

     
           

 

Equity Ratio Equity Cc_tpitc_t|izat_ion Rate

0.30 .x O.i 20 -l- 0.03600

indicated Capitalizatlon Rate 0.0961 8
ROUNDED TO 9.6%

E tim t L n om orient

The comparable rents all include land as a component of the rent. As such, the estimated
market rent also includes land contribution. in order to estimate the value of the subject building
only, the land component must be protected and the value of the same subtracted to arrive at
building-on|y.

The amount of land necessary to service the subiect improvements is based on land to

building ratios that are typical of the market. The comparable data presented indicate the

following land to building ratios:

Rent #l 3.7 : l
Rent #2 2.8 : l
Rent #3 6.4 : l
Sale #`l 6.8 : l
Saie #2 3.4 : l
Sai€ #3 3.7 t l

Greatest weight is accorded the median of the data set, with a land to building ratio of 3.7
deemed reasonable Utilizlng this ratio the estimated land required to service the sub|ect building ls
calculated as follows=

13,770 sq. ft. x 3.7 = 50,949 sq. ft

The appraisers conducted a market search for comparable industrial lot sales of between

30,_000 square feet and 70,`000 square feet within the PSJA area. The following three sales were

discovered to have occurred in the two years prior to the effective date of this appraisal:

    

`A_tldre_s_s n Sale Dat`e ` l‘.i`se ' n S'P ' 'Size P_ri`ce'/_SF
4901 'lFlr, Pharr, TX n 3'/1 6/20l O industrial 75,000 ¢lO,l"OQ $ l .87
580/ll N. Gumwood, Pharr TX 4/19/‘2010 industrial 83,000 40,040 $ 2.07
10004 BR Becker Ln, Pharr, TX 8/16/201 l industrial 80,000 33,'970 $ 2.36

       
   

      

 

Agulrre 81 Patterson, lnc. Page 66
Appralsal Report of the Textbook Building

 

Case 7:15-cv-OO465 Document 1-5 Filed in TXSD on 11/06/15 Page 4 of 70

lNCOME CAP|TAL\ZAT|ON APPROACH (contlnued)

The land sale data indicates a range from $1.87 to $2._36 per square foot 'for industrial lots.
With greatest weight accorded the mean ot the range, the estimated land component value ls

calculated as follows:

Land Required to Service Subiect Bldg Est. Price / sq. ft.
50,949 Sq. ft. X $2.1 l / $q. ff. '-' $107,502.39

Estlmatecl Marlcet Value BY lucerne Capita|lzation Annroach
The sub|ect's estimated market value by the income Capitallzation Approach is calculated as

follows and abstracts the estimated land component to arrive at the estimated value for the

 

building only:
Net Operating income $ 50,733.29
Di.vided by Cap. Rate / 9.6_%
Subtotal $ 528,471.75
Less Est. Land Necessary to Service Sublect Bullding - 107,502.39
Est. Retrospective Marl<et Vaiue by income Cap. Approach $ 420,969.36
ROUNDED TO $ 4,21,000.00
Aguirre 81 Eatterson, in'c. Page 67

Appra|sal Report of the .Textb_'ool'< B.uilding

 

Case 7:15-cv-00465 Document 1-5 Filed in TXSD on 11/06/15 Page 5 of 70

SALES COMPAR|SON APPROACH

D finition n co e

“ln the sales comparison approach, the appraiser develops an "ln the sales comparison
approach, the appraiser develops an opinion ot value by analyzing closed sales, iistings, or
pending sales of properties that are similar to the subject property. The comparative techniques of
analysis applied in the sales comparison approach are fundamental to the valuation process.
Estates of market rent, expenses, land value, cost, depreciation, or other value parameters may be
derived in the other approaches to value using comparative techniques Similarly, conclusions
derived in the other approaches are often analyzed in the sales comparison approach to estimate
the adjustments to be made to the sale prices of comparable properties.

“ln the sales comparison approach, an opinion of market value is developed by comparing
properties similar to the subject property that have recently soid, are listed for saie, or are under
contract (i.e., for which purchase offers and a deposit have been recently submitted). A major
premise ot the sales comparison approach is that an opinion of market value ot a property can be

supported by studying the market's reaction to comparable and competitive prop'erties.”5

§tep§ in Agg|ying the §gigs Compgrison grow

in order to establish an indication of market value for the subject property, an orderly
process takes place allowing the appraiser to carefully analyze the data gathered and form this
data into an indication ot market value for the property being appraised. This analysis follows a

logical sequence whereby:

l. The appraiser finds properties similar to the subject for which sales, iistings, contracts are
availabie.
2. Comparabies are qualified by the appraiser when he confirms the price, terms, motivation, or

authenticity of each comparable.

3. Each comparable is then compared to the subject property giving consideration to the time of
sale, location intiuences, and physical characteristics

4. Each comparable is then evaluated and adjusted as being more, less, or equal in value to the
subject property, based on each of the three broad classifications mentioned in Paragraph
#3.

 

5 Appraisa| lnstiiute, The Appraisai of Reai Esiaie, Thlrteenth Editlon, 2008, Pg. 297.

 

Agulrre & Patterson, |nc. Page 68
Appraisal Report of the Textbook Buiiding

 

Case 7:15-cv-00465 Document 1-5 Filed in TXSD on 11/06/15 Page 6 of 70

sALEs cOMPARisc>N APPROACH (co-minued)

5. After comparing the comparables to the subject property and making adjustments for any
major dissimilarities, each comparable will then indicate a probable selling price. From these
indicated values a final value estimate will be correlated.

Com le le

The appraisers completed a thorough market search for recent sales; however, very few
recent sales are available. The three best available and most similar comparable sales are

presented with analysis to follow.

 

Aguirre & Patterson, lnc. Page 69
Appralsa.l Report'-of the Textbook Buildin'g

 

Case 7:15-cv-OO465 Document 1-5 Filed in TXSD on 11/06/15 Page 7 of 70

SALES COMPAR|SON APPROACH (continued)

 

 

 

COMPARABLE SALE #~l

Type of Property: Ofilce/Ware'house

Location: 906 Owassa R'oad, Pharr, Texas

Date.-of Sa|e: Aprl| 14, 2011

Consider'atio,n': $_36.0,000.00

|mprovernentsx. 'An approximate 6,000 square foot single-story pre-engineered metal panel
office/warehouse office; 1,200 square feet of office (20%) and 4,800 square feet of
warehouse; completed in 2007. Condition and construction are considered average. Grade
|evel. l_;ot size 40,560 square feet. Land to building ratio = 6.8:1

Legal Descriptlon: Lot 15, Steel Horse industrial Park Subdivision, Clty of Pharr, l~lida|go County»,
Texas

Grantor': El Norte Holdlngs

Grantee: Ml"dwest inspection Services

conflrm;qn¢h= Agem/MLS#140400; H<:DR Doc. No. 2198043

Units of:Co_mpar-lson:
Price/SF: $56.40

 

Aguirre & Patterson, lnc. Fage 70
Appraisal Report of the Textbook Bullding

 

Case 7:15-cv-00465 Document 1-5 Filed in TXSD on 11/06/15 Page 8 of 70

SALES COMP-AR|SON APPROACH (contlnued)

 

CON\PARABLE SALE #2

Type of Property: Oftice/Warehouse

Loc_atlom 400 E. Pecan Beu|evard, McAlien, Texas

Date of Sa|e: November 22, 2010

Consideration: $470,000.00

Terms: Cash to Se||er

lmprovements: An approximate 10,500 square foot single-story, grade~|evel, pre-engineered
metal panel office/warehouse office; i,830 square feet ot office (21%) and 8,670 square
feet ot warehouse; completed in 2003. Condition and construction are considered average.
Lot size is 35,860 square feet.

Lega| Des'cr_iption: Lot B, Ejag`le P|ace Subdivision, Clty of McAllen_, Hidalgo County, Texas

Grantor: SANB

Grant_ee: Bo'xiFar_niiy LP, Ltd.

Rec'ording: Document #2156.731, HCDR

Veri`fic_a_tlon= Agent/Deed

Unlt of Comparison:
Prlce Per Square Foot: $44.76

 

Agulrr.e & Patters'on, lnc. Page 71
Appralsa| Roport of the Textbool< Bulld|ng

 

Case 7:15-cv-00465 Document 1-5 Filed in TXSD on 11/06/15 Page 9 of 70

SALES COMPAR\SON APPR-OACH (contlnued)

 

 

COMPARABLE SALE #3

Type of Property: Oftice/Warehouse

Location= 3102 Hiblscus, Pharr, Texas

Dat_e of Sa|e: March 15, 2012

`Consid‘eration= $215,000.00

Terms: Cash to Seller

|mpr-ovements: An approximate 5,000 square foot single-story, grade-level, pre-engineered metal
panel 'o.ffice/ warehouse voffice; 800 square feet of office (16%) and 4,200 square feet of
warehouse; completed in 2005. Conditlon and construction are considered average. Lot
size is l 8,482 square feet.

Legal Descr'iption: Lot 14, 3100 Sugar Subdivlslon, Clty of Pharr, Hlda|go County, Texas

Graritor= V-an'tage Bank Texas

Grantee: Jan R. Ko._epke

Recordlng: Document #2290227, HCDR

Veri_f.icatlon: Agent MLS#l 5361 Q/Deed

Unlt of Comparisom
Price Per Square Foot: $43.00

 

Aguirre & Patterson, |nc. Page 72
Appra|sa| Report of the Textbook Bulldlng

 

 

Case 7:15-cv-00465 Document 1-5 Filed in TXSD on 11/06/15 Page 10 of 70

SALES COMPAR|SON APPROACH (contlnued)

Comparable Adjustment Grid

  

Acljus't_ment
Tota`l Sa|es Price $360,000
Less Est. Land Va|ue $80-,00`0

Sales Price Bullding On|y $280,000
Price/SF (|and abstracted) $46.67
Flnanclng Terms Cash

0
Conditions of Sale Arms

Length

0
Market Condltlons Apr-`l 1

0

Adiu'sted ;Price{§q F-t'-B'ui|ciing Only

$4~70,000
$1 07,000
$3¢3,000
$34.57

Cash

   

s2.15,00'o
$40,000
$175,000
$35.00

Cash

 

]

L_ocation _Owassa
N/A

Slze 1 3,770 6,000
-.5°/0

Age 20 Eff. 4 Eff.
-16%

Quallty 67% CC 20% CC
7°/0

Net Ad ustments
Adj. -Valu'e/Sq Ft B_uilding -Only

   

--14%

      
 

Pe.can
_N/A

10,500
0%

7 Eff.
-i 3%

21 % CC
7%

~¢%

Hlbiscus
N/A

5,000
-5%

7 Eff.
-l 3%

l 6% CC
7%

-ll%

 

Agulrre & Polterson, lnc.
Appr'alsa| Report of the Textbooi< Bul|dlng

Page 73

 

Case 7:15-cv-00465 Document 1-5 Filed in TXSD on 11/06/15 Page 11 of 70

SALES COMPAR|SON APPROACH (contlnued)

orn arubi l Anal is

The comparables presented represent the best available data and are considered to
provide a reliable indication of value. Adjustments are based not only on matched paired analysis
but on the appraisers' knowledge and experience Abstractlng the land component eliminates the
need for location adjustments. Slze adjustment recognizes the market phenomenon that smaller
buildings command a higher price per square foot. Age is adjusted at 1% per year in effective
age difference Quality adjustment recognizes overall construction quality and additional climate
control area.

The comparable sales presented produce the following adjusted values for the subject for

building area only:

Comparable #1 ~~~~~~~~~~~~~ $ 40.13 per square foot
Comparab|e #2 ------------- $ 32.50 per square foot
Com_parable #3 ------------- $ 31 .1 5 per square foot

G'reatest weight of consideration is given the lower end of the range due to effective age,

with $31.15 per square foot deemed reasonable

Estimated As ls Value B\t Sales Comparison Abnroach

The subject’s estimated as is market value by the Sales Comparison Approach is calculated as

 

follows:
Sub.|ect:
13,770 Sq Ft @ $31.15 /sf = $ 428,935.50
ROUNDED TO $ 430,000.00
Aguirre & Patterson, |nc'. Page 74

Appralsal Rep_ort of the Textbook Bullding

 

 

Case 7:15-cv-OO465 Document 1-5 Filed in TXSD on 11/06/15 Page 12 of 70

CORRELAT|ON

The approaches to value have been considered and the estimated “as is" market value

indications, excluding FF&E, is as foilows:

Cost Approach Not Applicab|e
income Capitaiizati'on Approach $ 421,000.00
Sales Comparison Approach $ 430,000.00

The Cost Approach is that approach in appraisal analysis, which is based on the proposition
that the informed purchaser would pay no more than the cost of producing a substitute property
with the same utility as the sub\ect property. The Cost Approach, in effect, will tend to set the price
which specific users would pay for its‘ specific purposes, reflecting the extent to which the property
contributes to the utility or profitability of that particular enterprise Due in large part to the sublect
age and depreciation, the cost approach is not considered applicable as it would not provide a
reliable indication of market value.

The income Capitaiization Approach estimates gross income and expenses based on actual
proiection data, which is abstracted from the market. The net profit is then capitalized into value
by use of an overall rate, which is also abstracted from the market. This approach, in effect,
indicates what funds a typically informed investor would commit for the right to receive the benefits
provided by the sub|ect under the present market conditions. This approach indicates a market
value of approximately $421,000.00 for the sub\ect property.

Greatest weight is accorded the Sales Comparison Approach which allows the appraisers a
more precise method of abstracting the land value from each comparable sales price rather than
subtracting the subiect's hypothetical land contribution. is a process of analyzing sales of similar
recently sold properties in_ order to devise an indication of the most probable sales price of the
property being appraised. The reliability of this technique is highly dependent upon the degree of
comparability. The comparable sales utilized are considered to have reasonable comparability.
Nevertheiess, there is a lack of more recent sales that are similar in size, quality and location,-

therefore, the Compar-able Sales Approach is presented to lend support to the final value estimate

 

Aguirre & Patterson, inc. Page 75
Appralsai Report of the Textbook Bullding

 

Case 7:15-cv-OO465 Document 1-5 Filed in TXSD on 11/06/15 Page 13 of 70

CERT|F|CATE OF VALUE

lt is the appraisers’ opinion that the retrospective market value estimate, as of February i,
.20i 2, excluding FF&E, was as follows:

FOUR HUNDRED AND TH|RTY THOUSAND DOLLARS
($430,000.00)

Based upon the appraisers’ analysis of past events assuming a competitive and open
market, the appraisers estimate a reasonable marketing period for this type of property at the
market value estimated in this report to not exceed twenty-four months.

Based upon the appraisers' analysis of past events assuming a competitive and open market,
the appraisers estimate a reasonable exposure period for this type ot property at the market value

estimated in this report would not have exceeded twenty»four months.

a()l_..; (3‘”*"@°”@“

 

Joe Patterson, MA|, S_RA irene B. Thompson
President, TX-132l 595-6 Assoclate, TX-1336175-G
Aguirre & Patterson, lnc. Fage 76

Appraisa| Report ot the Textbook Bullding

 

Case 7:15-cv-OO465 Document 1-5 Filed in TXSD on 11/06/15 Page 14 of 70

ADDENDUM

 

Ag_ulrre & Patterso`n, lnc. Page 7-7

Appraisal Report of the Textbook Bullding

 

Case 7:15-cv-00465 Document 1-5 Filed in TXSD on 11/06/15 Page 15 of 70

Texas Appraiser Licjensin.g nan-d Cer;ttticatton Bo;afcd
P.O_. Box 12188 A-__usttn, Texas ?8?11~_2,188
Ce_rtified Gen'era| `_Ree't Estate Appra_i_se.t
Number: TX'i32'l_595 G
lssued: `10!25:'2013 Expires`: j f 12131_/2015

Appm'.$er; JJ..QS.EPH wiLLiA.M;PA'rrERson ru._;:_

 
  

Havlug provided satisfactory evidence ot_ tit_e q\_lalifigatlon's required by the B f ({[’é/ g
Texas Appraiser Licensing andcertitirmtion Act. Texas- thcupatiuns _Coae, ': ' §
Chapter 1103,_ is authorized to `use this tille. Cert`ltl'_ed G_anel_'ai Reai Estat_e ' UB|ES'E_# mdl |F°l\ i_
Appraisor. - _ _ -- Co'rnmlsslonar

 

 

Aguirre '& Patterson, |nc. Page 78

Appra|sal Report of the Textbook Bullding

 

Case 7:15-cv-00465 Document 1-5 Filed in TXSD on 11/06/15 Page 16 of 70

QUAL|F\CAT|ONS OF THE APPRAiSER
JOSEPH W. PATTERSON, l||

State l.icensinq and C§rtificction
Licensed and certified by the State of Texas as a General Rea| Estate Appraiser: License Number
TX-1321595-G (Date of lssue: Octoioer 25, 2013and Date of Expiration: December 31 , 2015)

E[-ofessiong| Designgtion§
N\ember of Appraisal institute with MA| and SRA Deslgnations

ESIMLQB

Bacheior of Business Admiri|stratlon from Bayior University, Waco, Texas

Graduate Study at Baylor University Law Schooi, Waco, Texas

Contlnulng Educcstion in Real Estate and Appraising at University of Houston, Universit`y ot` North
Caro|ina, San Diego Unlversity, University ot Coioraclo, Universlty of i|ilnois, Mi||s Co||ege (Oakiand),

and University of Texas Pan American

P[ofe§s|oltal£_m|iat|ons
Member of the McA|len Board of Reaitors

Member of the Texas Assoclation of Realtors

Member ot- the Nationai Association ot Realtors

Professional Offl<:es Held
President of Rotary C|uio of McAllen, Texas, Chapter #2076, 1996-1997

President of the Society of Rea| Estate Appraiser, Rio Grande Val|ey, Chapter #144 - 1983-1984

Board of Directors of the Society of Rea| Estate Appraiser, Waco, Texas, Chapter #145 - 1975-
1977

Board of Directors of the Society of Real Estate Appralser, Rio Grande Val|ey, Chapter #144 -~
1976~1991 '

Board of Directors ot the America\n institute ot Real Estate Appraisers, South Texas Chapter #29 -
1986-1991 '

whmg_&z<.ee:.iem
instructor for Rea| Estate Appraising and R;eal Estate Law at Hiii Junior Coilege, Hi||sboro, Texas

Su`bstitute instructor for Real Estate Princip|e, Real Estate Law, Reai Estate F'inance, Real Estate
Appraising and Business

Agulrre & Patterson, |nc. Page 79
Appra|sai Report of the Textbook Bullding

 

Case 7:15-cv-00465 Document 1-5 Filed in TXSD on 11/06/15 Page 17 of 70

QUAL|F\CAT|ONS OF THE APPRA|SER (contlnued)
JOSEPH W. PATTERSON lli

Erofe§sional Exp§rlence

loe Patterson began his appraisal experience in 1971 as an independent appraiser with Smith Real
Estate Association in Waco, Texas for five years. He was also a staff appraiser for First Federal
Savings and Loan Associat|on in Waco, Texas for one year. He then associated himself with D.U.
Buckner, a local MAi, for seven years as an independent fee appraiser. in 1986 he opened his own

office, J.W. Patterson and Associates, and currently covers the Rio Grande Valley area from his
McAllen office.

As an appraiser for the past 43 years, he has worked on the following types of properties: single
family residences, dupiexes, apartments, manufacturing properties, shopping centers, discount houses
and supermarkets, hospita|s, hotels and motels, funeral homes, restourants, developments, churcites,
schools, medical clinics, warehouses, banks, farms, ranches, bowling alieys, convention centers, grain
elevators, glns, condominium prolects, food processing plants, civilian airport facilities, and “FlRREA”
affordable housing program. Other assignments include partial taking, eminent domain, easements,
and partial interests.

Joe has also served as the guest speaker and lecturer for numerous local service ciubs, professional
organizations and schoo|s, including Unlversity of Texas Pan Arnerican.

Reg§nt|_,\;. Comp|gt§gi §ourse Stgciies

USPAP Update 201 2/2013, No. 101, offered by the Coiumbia lnstitute, Austin, Texas, January 18,
2013

Appraislng in a Depressed Market, No. 1 25, offered by the Coiumbia |nstitute, Austin, Texas,
january 16, 2013

interagency Ruies of Banks and Credit Unions, No. 01 1, offered by the Coiumbia lnstitute, Austin,
Texas, January 15, 2013

Write lt Right, No 148, offered by the Coiumbia |nstitute, Austin, Texas, .ianuary 17, 201 3

Oniine Appraisal Curriculum Overview - Residentia|, offered by the Appraisai lnstitute, January 14,
2013,

Oniine Business Practices and Ethics, offered by the Appraisal institute, December 1 2, 2012

Report Writing-the UAD, No. 120, offered by the Coiumbia lnstitute, i'lariingen, Texas, August 2,
201 1

The Mortgage Loan System, No. 015, offered by the Coiumbia institute, Hariingen, Texas, August 1,
201 1

Practice of Appraiso| Revi_ew - FHA Protocoi, No. '145, offered by the Coiumbia lnstitute, Harlingen,
Texas, February 201 1

USPAP Update 2010~201 1, No. 101, offered by the Coiumbia institute, Har|ingen, Texas, March
201 1

USPAP Update No. 101, September 2009

identifying Reievant Chara'cteristics Course 019 ~ The Coiumbia |nstitute, Sept. 2009

FHA Today Course 1 14 - The Coiumbia lnstitute, March 2009

Fannie Mae Today Course 1 16 - The Coiumbia lnstitute, Mctrch 2009

Basic Appraisa| Princip|es, The Appraisai institute, North Texas Cha pter, May 2007

Scope of Work and Appraiser Due Diiigence, No. 36_, The Coiumbia lnstltute, April 2007

USPAP Update No. 101 , The Coiumbia lnstit`ute, April 2007

Fundamental of Appraisal Rev|ew No. 10_-5, The Coiumbia institute, April 2007

 

Aguirre & Patterson, inc. Page 80
Appraisai Report of the Textbook Bullding

 

Case 7:15-cv-00465 Document 1-5 Filed in TXSD on 11/06/15 Page 18 of 70

QUAL|F|CAT|ONS OF THE APPRAlSER (contlnued)
JOSEPH W. PATTERSON iii

FHA, the URAR & the 1025 No. 104, The Coiumbia institute, April 2007

Buslness Pract`ices and Ethics, The Appraisal institute, February 2007

Uniform Standards of Professlona| Practice, USPA'P Update, The Appraisal institute, Houston Chapter,
September 2005

Litigation Skiiis for this Appraiser, The Appraisal institute Houston Chapter, Sept. 2005

Ethics & S'pecia| Purpose Propelties, The Appraisal |nstitute, September 2005

Appraising from Biueprints and Specifications, The Appraisal institute Oniine Continuing Education
Prograrn, Chicago, lllinois, February, 2005

Uniform Standards of P`ro'fessionai Practice, USPAP Update, The Appraisal institute North Texas

_ Chapter, June 2003

Small Hote_l/N\otel Va|uation, the Appraisal institute Oniine Continuing Education Program, Chicago,
iiiinois, November 2002

Appraisal Procedures, The Appraisal lnstitute, Daniels College of Business, Denver, Colorado, August,
2002

Techniques of Appraisal Review, The Coiumbia institute, Course #108, October 2001

Residentia| Appraisal Update, The Coiumbia institute, course -#1 17, October 2001

Standards of Prof.essiona| Practice, Part C, The Appraisal institute, Septemioer 2001

GiS'and Appraising, The Appraisal institute, Austin, Texas, August, 1999

FHA Appraisal Rules #1 19, The Coiumbia institute, September 1999

Standards of Professional Practice, Part C, The Appraisai lnstitute, September 1999

Comprehensive Examination Prep, the Appraisal lnstitute, February 1998

 

 

Aguirre -& Pa_tterson, i'nc. Page 81
Appraisal Report of the Textbook Bullding

 

Case 7:15-cv-00465 Document 1-5 Filed in TXSD on 11/06/15 Page 19 of 70

Texas Appraiser Litensing and Cer_i_iftcntion Board
P.O. Be'x 1213_8-Au_stin, 'if_exas 78711-2133
Certii'ied G`en'er`ai Rea't Estate Appraiser
i Number“. TX 1-3_3:6-'1'1'5 _G ` _
lessee _-:06_!93120`1'4_ E><pites: " '.06130{2016
l Appratser; mens eece`enn .frHoMPsoN `

 

' t
l /W’ .r' " - :
ii timing provided satisfactory evidence otr-the qualifieutiene required by the //{6/ cl £(é£ . _- _
' § Texas Apprui_eer Licensing and Cert|iication Ac`_t. Texas Ciccupations Code. 1 ` ' ' ”' ~““'

 

 

 

 

 

 

! Chupter 1103, is minimized to use this titie, Certifiecl Genaml Reni Estate ll`uirw E- chh ixon
ii Appraiser. ' _ ' Commts.»,mnor
Agu_irre & Pa_tterson, lnc. 4 Page 82

Appraisal Report of the Textbook Bullding

 

 

Case 7:15-cv-00465 Document 1-5 Filed in TXSD on 11/06/15 Page 20 of 70

QUAL|F|CAT|ONS OF THE A»PPRA|SER
iRENE B. THOMPSON

State Llcensinct and C§rtifigation
Licensed and certified by the State of Texas as a General Reai Estate Appraiser: License Number
TX»1336175~G (Date of lssue: iune 3, 2014; Date of Expiration: .lune 30, 20~16)

§du_cgliszn
Graduate, Wes|aco High Schoo_l, May, 1992

Three years education toward Bachelor of Arts in History and Phiiosophy, Brown University,
September, 1992 through May, 1 995

Continulng Education in Reai Estate and Appraising at The Appraisal lnstitute, Lincoin Graduate
Center, The Coiumbia institute, Trinity University, Lon Morris College, and Geo Leonard School of
Reai Estate.

M.EJ&MM§

irene Thompson has been associated with Aguirre & Patterson, |nc. from September, 1998, to the
pr.esent. As an independent appraiser, Mrs. Thompson has gained valuable experience appraising
various types of properties throughout the Rio Grande Va|iey. The following is a list of the types of
properties Mrs. Thompson has appraised: single-family residences, multi-family apartments,
residential condominiums, residential lots, unimproved land tracts, subdivisions, right of ways,
easements, dine-in and fast food restaurants, condominium shell facilities, single-tenant and multi-
tenant retail centers, professional business centers, commercial buildings, convenience stores,
professional offices, medical clinics, assisted living centers, rehabilitation hospitals', banquet halis,
community centers, churches, public schoo|s, charter schools, adult and child day care centers,
of-fice/warehouses, distribution warehouse_s, manufacturing warehouses, condominium warehouses,
cold storage facilities, cement piants, farms, ranches, moteis, hotels, mobile horne and RV parks,
unimproved commercial lots, self-service and automatic car washes, government facilities subject to
GSA ieases, golf courses, auto service/quick lube auto shops, and leasehold estates.

Re nil late Co r e St ila

7-i-iour USPAP Update, Mcl(issock, June 2014

Appraisal of Self-Storage Faciiities, McKissock, June 2014

Land and Site Va|uation, McKissock, May 2014

Environmentai issues for Appraisers, McKlssock, May, 2014

Mold, Poiiution and The Appraiser, Mci<issock, May 2014

7-Hour USPAP Update, McKis`sock, May 2012

Ad V`aiorem Tax Consultation-, McKissock, May 2012

Disclosures & Disclaimers, McKissock, May 2012

How to Analyze and Va|ue income Properties for Financing, McKissock, May 2012

Private Appraisal Asslgnments, Mci<issock, May 2012

Anaiyzing Operatlng Expenses, The Appraisal institute, May 6, 201 0

Advan,ce.d |nternet Se_arch Strategies, The Appraisal institute, May 5, 2010

Uniform Standards of Professional Appraisal Practice, Update - The Appraisal institute, February
22, 2010

FHA Today, No. 1 14, The Coiumbia lnstitute, March 2, 2009

Techno.iogy for Today’s Appraiser, McKissock, May 30, 2008

 

Aguirre & Patterson, |nc. Page 83
Appraisal Report of the Textbook Bullding

 

Case 7:15-cv-00465 Document 1-5 Filed in TXSD on 11/06/15 Page 21 of 70

QUALIF|CAT|ONS OF THE APPRA|SER
iRENE B. THOMPSON (contlnued)

Survey of the Cost Approach, No. 106, The Coiumbia lnstitute, April 8, 2008

FH`A, the URAR &' the 1025, No. 104, The Coiumbia |nstitute, April 7, 2008

Uniform Standards of Professlona| Appraisal Practice, Update -- The Appraisal institute, May 24,
2007

Uniform Stanclards of Professiona| Appraisal Practice (Course USPAP) - Oniine - Center for Career
Education - March 20, 2006

Fundamentais of Reai Estate Appraisal - Correspondence -- Lon Morris Coiiege - February i, 2006

Appraising Resic|ential Properties - Correspondence - Lon Morris Coilege - August 18, 2004

Uniform Standarcls of Profess|ona| Appraisal Practlce, Update (Course- USPAP 2004) =- The
Appraisal institute, February 27, 2004

industry Update Manufactureci Housing - Lincoin Graduate Center, February 24, 2003

New Fannie Mae Appraisal Guide - The Coiumbia institute, March 14, 2003

Uniform Standards of Professiona| Appraisal Practice, Update (Course- USPAP 2002) »- The
Appraisal |nstltute, April 27, 2002

Principies and Techniques of Appraisal Review (Course - 108) - The Coiumbia lnstitute, June 9, 2001

Farm and Land Appraisal lCourse - 637} - Nationa| Association of Master Appraisers, Lincoin
Graduate Center, April 28, 2001

income Property Appraisal (Course - 231) - Correspond'ence - Lon Morris Coiiege, February 28,
2000

Uniform Standards of Professlona| Appraisal Practlce (Course ~' USPAP 99) Correspondence -
Trinity University, September 1, 1999

Principles of Reai Estate (Course -- 1 1 l) -- Geo Leonard School of Reai Estate, August 9, 1998

Reai Estate Appraisal (Course - 21 1) - Geo Leonard Schoo| of Reai Estate, August 29, 1998

Practice of Reai Estate Appraisal (Course - 636) -- Lincoin Graduate Center, February 2, 1999

Reai Estate Law (Course - 31 1) - Geo Leonard School of Reai Estate, February 20, 1999

 

Aguirre & Patterson, lnc. Page 84
Appraisal Report of the Textbook Bullding

 

Case 7:15-cv-00465 Document 1-5 Filed in TXSD on 11/06/15 Page 22 of 70

Agustin J Rodriguez

316 W. Nyssa

McAiieln, Texas 78501 956.451.7272 mobile
E-mai : bluesunsi:udlo_@tatmmnm

SUMMAR¥: Have managed design projects from inception thru construction administration for
design offices. Launched, managed, and marketed Rio Grande Val|ey architecture satellite office for
over four years for PGA Architects. Devaioped a project management handbooi<, a company
website, and an office practice standards manual for PGa corporate office and ROFA Arch|tects.
Have extensive knowledge of building codes, governing agency regulations, hospital licensing
standard and construction. Skli|ed at building effective, productive working relationships with
clients and staff and have excellent analyticai, organizationai, and creative sk||is.

EDUCTATION:

The Un|versity of Texas at Austin
Bacheior of Architecture Dec. 1996
Honors and Act/'vit/‘es:

Mebane Scholarship Recipl'ent

S/ab Student Publlcatlon

Furnlture Deslgn Scholarsh/p Award

EMPLOYMENT:

PSJA ISD
Pha rr Texas July 2011 - present

District Project manager coordinating design and construction teams. Estab|ished building programs,
staff coordination requirements, schematic designs, and coordination with design team for
implementation Heid pre bid and bid conferences with design and construction team. Estab|ish district
building and material standards, created a construction filing systems and generated AIA contracts
Heaci the contractor and design team ranking committees Head facility board workshops and made
board project update presentations. Work closely with other district teams for in house projects.
Assist attorneys with drafting architect, engineer and other design professionals contracts; participate
in all phases of procurement of design professional and contractor construction contracts; assist l.»vith
evaluation of design-phase submitta|s by architects and engineers; review cost estimates by
architeca;; assist with negotiations of terms construction contracts; change orders, requests for
information and coordinate and supervise Owner's construction phase project construction staff;
coordinate and document Owner's substantial compietion, final completion and post-completion due
diligence.

ROFA, Inc. Archltects September-ZUO$-]uly 2011
McAiien, Texas

Head designer for ROFA, Inc. McAi|en for over 6 years designing Schoois, Commerciai,
Governmentai, and Heaithcare Projects. Master Pian, Architecture, lnteriors, and building systems.
Coord|nated staff requirements to establish building programs and coordinated design teams.

Po|ktnghorn Group Arch|tects, Inc. September-1994-September 2005
Austln, Texas

Junior Partner of PGa-Austin with over 10 years of experience in the architecture fie|d. Participated
as Pro_iact Manager and design lead on a variety of healthcare, commerciai, educationai, religious
and interior projects.

Cornerstone Group Architects May 1994~August 1994
Austln, Texas

Design lead and drafting support with premiere high end residential design,'buiid firm in Centrai
Texas. Daveiopad presentation, schematics, concept drawings and coordinated construction
documentation with consultants while attending undergraduate studies at the Univers|ty of Texas at
Austin.

 

Case 7:15-cv-00465 Document 1-5 Filed in TXSD on 11/06/15 Page 23 of 70

Dick Clark Archltecture March 1994-May 1994
Austln, Texas

Developed concept and presentation models for an international award winning firm while attending
undergraduate studies at the Un|vers|ty of Texas at Austin. Projects include single-family and
multifamily residential projects, resorts and custom homes throughout the Lln|ted States and the
Carlbbean. The firm is a leader in hospitality design of some of Texas' most successful restaurants
and golf course amenities.

SKILLS AND ACCCMPLISHEMENTS:

Design Projects:
Managed, selected, and directed design and consultant teams for numerous large
and small design projects around the United States. Coordlnatad old and
construction documents from design development to construction administration

PSJA ISD Dlstrlct Project Manager coordinatan Educat/`on facilities with design and
construction teams.

Selected Project Llst:

Aud/e Murphy Mldd/e $chool: Gignac Archltects
Soutnwest High Scnool: ROFA Architects
Thomas Jefferson Early College Campus: ERO Archltects
A/da Escobar Elementary School: EGi/ Architects
Ford Elementary School: ROFA Archltects

Farlas Elementary Schoo/: ROFA Archltects
Escalante Mlddle 5choo/.' Gignac Architects
McKeever Elementary School: ROFA Architects
Arnold Elementary School.' V/ttetta Archltects
PSJA ISD Stadlum Renovations.' ROFA Arch/tects
Austln Mlddle School: Glgnac Archltects

LB] Mlddle School: EGV Architects

North High $chool Renovations: ER£J Arcnlrects
Alamo Mlddie School Renovatlons: Gignac Arcnltects
Sorensen Elementary School: ERO Archltects
Marcla Garza Elementary School: ERO Architects
Ramlrez Eiementary .School: Mllnet Arcnlrects
l.ongoria Elementary Scnool: Gignac Architects
$clence Addltions: ERO Arch/tects

$cience Additions: ROFA Arch/tects

Farias Elementary School: ROFA Archltects

ROFA, Inc. Architects:
Head designer coordinating design teams and projects. Multl disciplinary function
as office coordlnator and project manager.

Salected Project Llst.'

Hidalgo County Oi'i”lces at the formerly know as the Krnart Bul/d/ng - Edingburg,TX
Maricet Center Commercial Development - McA/Ien, Texas

Trevino $hopping Center - Pharr, TX

McA/len War Memorial - McAlIen, TX

l.a Piedad Cemetery Monumenr - Mc.¢illen, TX

Vailey Vlew Inde,oendent $chooi Dlstrlct - Pharn Texas

PSJA Inclependent Schooi Dlstrlcl' w Pharr, Texas

Faifurrlas Medical Plaza - Falfurrlas, Texas

 

Case 7:15-cv-00465 Document 1-5 Filed in TXSD on 11/06/15 Page 24 of 70

Poll<inghorn Group Architects, Inc.:

Deve/oped Marketlng strategy and targeted client base for Polkinghorn Group
Archltects, Inc. Va/Iey ofi‘ice. Establlshed contracts on several healthcare, religious,
and residential projects and developed programming for healthcare campuses.

Selected Project Ust:

Physlclan's Hosplral of Marcedes - Mercedes, TX

Brownsvllle Imaging Center - Brownsvllle, TX

St. Peter & St. Pau/ Episcopal Church Master Pian - Mission, TX
Narlonal Speclalty Hospital of El Paso Addition and Renovation ~ El Paso, TX
Sunset Canyon Veterinaqz Cllnlc - Dripplng Sprlngs, TX
DeTar Hospltal Renovation - Vlctorla, TX

Elay Area Surglcal Center - Weoster, TX

Na rlonal Speclalty Hospltal of San Antonlo - San Antonlo, TX
Colernan County Medlcal Center ~ Coleman, TX

Butler County Surgery Center - Haml/ton, OH

North Centrai Baptlst Surgery Center - San Antonio, TX

l/A Medical Center - Temple, TX

Park Place Surgery Center - l_afayette, LA

Surglcare of l.al<e Cnarles - l_ai<e Cnarles, LA

Podio Res/'dence - Austln, TX

C/ark Residence - Drlpplng Springs, TX

Dripplng Sprlngs Comrnunlty library - Dr/pplng $prlngs, TX
St. Martin de Porres, Dri,oping Sprlngs, TX

Round Roci< Surgery Center - Round Roci<, TX

South Austln Health Cllnic Addition & Renovatlon - Austln, TX

Community/Associa tion Involvement:

Technical:

American Instltute of Architects: 1997-present

Texas Soclety of Architects: 1997-present

Intern Assoclate Dlrector 2001 -2003

LRGV-AIA Design Awards Commlttee Chalr: 2002~present
BCC Marl<etlng Committee $ecretary/Chalr 2003-2004
LRGV-AIA Executlve Committee Member 2002-2004
Proyecto Azteca.' l/olunteer - 2004

FAIA Portfollo Delgn: “Tom Ash/ey, FAIA”: 2002
AIA-Austin Homes Tour Commlttee: 1997-2000

Proficlent ln Autodesk AutoCAD, Adobe PhotoShop, Mlcrosoft Pub/isher, Adobe
PageMa/<er, Sketch-up, and Wlndows based programs and software
Free hand concept drawings, models, and render/ngs

AWARDS AND RECOGNITION:

Communlty Outreach Award: Aids Services ofAustin - 1999

AIA-Austin: Young Architectural Professional Award nlomlnee - 1999
Semi~Annuai Pu|se Innovative Design Contest: Honorable Mentlon - 2000
Veterlnary Economics Hospital: Design MerltAward - 2002

LRGV-AIA: President/al Award - 2002

 

 

Case 7:15-cv-OO465 Document 1-5 Filed in TXSD on 11/06/15 Page 25 of 70

Evaluation of 'l`echnology, Science, Education & Math
I-Iigh School Construction Costs Phase I & Phase II

 

Date: August 25, 2015

To: Dr. Daniel King

From: Augu'stin Rodriguez, District Project Manager

Bha§§l

I have been asked by legal counsel to the school district, Mr. Jesus Ramirez, to review

certain change orders associated with construction that the school district was asked to undertake
at the Jefferson TSTEM High Scliool main building after the partial collapse during construction
Mr. Ramirez requested that I determine the estimated additional cost to the district that may have
resulted from replacement of work in place that was damaged as a result of inadequate design or
construction

To date, I have reviewed and prepared the following report regarding the damages to the
basement floor which resulted from moisture intrusion alter the floor had been completed

I was employed at the district when the change order was requested for replacement of the
basement floor. I have attached the documentation for the change order under Phasc I Change
Order. I determined the estimated cost of the basement floor replacement to the district by
making certain assumptions and calculationsl

Basement Fioor Caiculations

1. According to the Schedule of Value budget, the Rubber Cork Flooring (entire building)
installation under the Construction Contract Was for a total of $l 94,147.00

I have confirmed that the Schedule of Values has that number allocated
2. Square footage of building area to take Rubber Cork Flooring 13,377 sq. ft.

(from construction documents and room finish schedule)
3. Total Square foot cost of Rubber Cork Flooring: $l94,147.00/13,377 sq. ft. = 14.13 sq. ft.
4. Basement square foot of area to take Cork Flooring: 4,316 sq. ft.

 

Case 7:15-cv-00465 Document 1-5 Filed in TXSD on 11/06/15 Page 26 of 70

5. Based on these calculations the actual Cost of Cork Flooring only for the damaged basement
floor was: 4,316 sq. ft. x 14.13 = $60,985.08.

6. The additional design fee should be added to this amount to determine the full amount of the
additional cost to the district resulting from the fix.

l assumed that the basement floor as finally completed and approved by the district would have
been similar in cost to what the district would have been required to provide for in the first
instance.

Etde

l have been asked by legal counsel to the school district, Mr. Jesus Ramirez, to undertake a cost
comparison (on a square foot basis) of the construction costs experienced by the school district
for school projects that (l) involved construction of school buildings that included a focus on
high school science classroom, and (2) Which Were designed and constructed between 2011 to
2012.

The objectives of this analysis were multifold:

(a) to determine the extent to which in designing and building the Phase ll
improvements to the chferson _TSTEM High School, the school district would have
been better served by designing a new building rather than re-adapting the Stambaugh
and Textbook buildings;

(b) if, With the benefit of hindsight, it would have made more economic sense to
construct a new building, what was the estimated loss to the district as a result of
proceeding with the re-adapta_tion and rehabilitation of the Stambaugh and Textbook
buildings

In the past year,.I had several meetings with Mr. Rene Campos, Asst. Superintendent of Support
Services, in order to determine on how to proceed. Later, the district engaged the services of Mr.
Brad Russell, AIA, and I consulted with him as well as to method of proceeding with
determining or quantifying (to the extent possible) the loss to district, if any, resulting from the
district’s decision regarding this construction project

We opted initially to obtain the services of Agui`rre & Patterson, Inc., Reai Estate Appraiser, to
evaluate whether a fair market appraisal of each of the buildings (Stambaugh and Textbook) at
the time they were re-adapted and re-habilitated was a reasonable approach Based on our
discussions with Ms. Irene Thompson, an appraiser who has appraised numerous public and
private properties in the area and testified in eminent domain proceedings, we concluded that an
appraisal Woulcl provide a fair and reasonable estimate of the fair market value. '

 

Case 7:15-cv-OO465 Document 1-5 Filed in TXSD on 11/06/15 Page 27 of 70

From our discussions with Mr. Brad R'ussell, we determined that we would identify comparable
school construction projects which the district had built in the same general time period in order
to have a reasonable comparison of construction costs.

l selected five projects constructed by the school district between 2011 and 2012. l revisited the
architectural plans and specifications and relevant documents such as the schedules of values and
visited each of the sites (which are currently used by the district). Each of the five projects l
compared met the following criteria:

l. the specifications were all typical of the district’s past and current construction: single-
story, flat-roof, doors, windows and fixtures; similar HVAC and lighting control systems;
and

2. Brick venecr; linear design.

Each of the five projects met each of the criteria, The compared project specifications differed
only with respect to size. Notable also, was the fact the Textbook and Stambaugh buildings
included a better quality of interior finishes Other than those differences, all six seven buildings
were comparable in design, materials and construction

The chart which I have attached contains the data that I obtained from a review of the five
projects and the Stambaugh and Textbook buildings

These are my opinions, based on the information I have reviewed:

l. Ot` all the seven projects reviewed, the STEM Phase ll Projects (Textbook and
Stambaugh) are the most expensive projects (on a square foot basis) which the district has
constructed at a cost of $193.35.00 per square foot.

2. The next most expensive projects (on a square foot basis) constructed are the TAPP
Center Science Bldg at a cost of $196.19 and the Options School of Choice Science
Bullding Addition at a per square foot cost of $197.82 per square foot. This increase of
square foot on these campuses was due to utility infrastructure required to bring onto site
as they were not existing as in other campuses.

 
 

' __ uez, District Project N|anager

 

-» vel 1 el`\r'

Case 7:15-cv-OO465 Document 1-5 Filed in TXSD on 11/06/15 Page 28 of 70

._.:o:.mw ._mmm_.mo: mm_._< Oo__mmo _.=m: wn:oo_

OOZm._.WCO._._OZ OOM._. OOZ=u>_N_wOZ

 

 

 

 

 

 

 

 

 

 

mC__lU_ZO mOC>Dm mmm._. OOZ._.®._._NCO._\_OZ OOm._._ OOm._. _um_» mOC>_»m _umm._.
._.m._.m_$ m._.>§m>C®I ,_o“mwm mD. _u._.. WN.\_oN.mwh.mo w._©w.wm\ mO. 1._.,
Amz®_Zm_mD_ZOv wC__l_u_Z®
l_1®._.m_<_ ._.mX.:wOOR AwO_sz_mv §:mwv mD. _W_.- Ww.mmo.omh.oo Q\_©w.mm\ mD. _u._..
mC__¢D_ZO
_um,~> I_O_._ mO__mZOm wC__lU_ZO \_©.\_@.\. wD. 1._.. Ww.mz.mw@.oo Wawm.wo\ mD. m._..
>UU_._._OZ
_<_m_<_O_..~_>_l T=OI mO__mZOm »_m.mhm mD. _u._.. wm.mmh;mh.cc M._m._ .mo` mD. m._..
wC__¢U_ZO >UU_._._OZ
._.>_u_u Omz._.mD mO=mZOm WC__.U_ZO .m_mm$ mD. _u._\. W`_..K@_.mmm.oo m._®®.._©\ mD. _u._..
>UU_._._OZ
O.u._._OZm. ,n.,.O_._OO_l O_u OIO_Om m.m®._ mD. _...._1. w,_ .._m@.t._ .oo m\_©u.mw\ mD. _u.~.
mO_mZOm mC:.O_ZO >UU_._._OZ
ZO_N._.I _.__OI mO_mZOm mC__IU_ZO NN.omo mD. _u,_.. $m.m@m_ooo.oo w._mw-©m\ mD. _u._..

>OO_._._OZ

 

 

 

 

 

 

 

Case 7:15-cv-OO465 Document 1-5 Filed in TXSD on 11/06/15 Page 29 of 70

THE J. RAMIREZ LAW FlRM

.Attomeys at Law

700 Veterans B|vd
San Juan, Texas 78589
Phone: (956) 502-5424

Fax: (956) 502-5007

August 28, 2015

Resume

JESUS RAMIREZ Was born Edinburg, Texas, 1951; admitted to Texas bar, 1983;
admitted to bars of the U.S. District Courts, Southern and Northern District of Texas, the Fifth
Circuit Co_urt of Appeals and U.S. Supreme Court. Preparatory Education, University of Texas
School of Law. Honors: Articles Editor, lnternational Law Journal; Director, Legal Research
Board; lnvited. to membership: the Criminal Law Journal; Semi-Finalist, Johnson-Swanson
Mock Trial Competition. '

As a law student, Mr. Ramirez served as a law clerk to the Administrative Law Judges,
_Texas Comptroller's office in 1981-1982. In that capacity he assisted the three judges with legal
research and assisting with drafts of legal opinions in the sales tax and franchise tax area.

As an article editor at the International Law Journal, Mr. Ramirez was responsible for
reviewing and editing all legal articles offered by legal scholars for publication In that capacity,
he published Sz'mpson-Mazzoli.' Altering the Policy of Neglect of Undocumented Immigratz'on
from South of the Border, Vol. 18 No. 2, Texas International Law Journal (1983). He has also
written on local government affairs: Recen! Developrnents in Public Finance and Proposed
Amendrnent to Texas Civ£i Praca‘ice & Remedfes Code Should Reduce Nuisance Lawsuz'ts Against
Governmental Unz'ts. These were presented to the Texas Municipal League Region 12
Membership Meeting South Padre Island, May 27, 1994; ls there a Border Along the Rio
Grande? Student Admissz'ons: Toward A New Policy Was delivered to the Texas Association of
School Boards, October 2, 1994, Dallas, Texas.

Mr. Ramirez is a member of the National Association of Bond Lawyers, the Texas
Council of School Board Attorneys, and the Texas City Attorney's Association.

The I. Ramirez Law Firm also manages a reasonable case load in the areas of construction law,
architects & engineers and real estate, having represented public entities and contractors in construction
design and litigation cases, payment and performance bond claims, breach of contract, breach of warranty
and first party property insurance claims. He has also represented clients in appellate cases.

Over the pasts thirty years, Mr. Ramirez has served as counsel to various local governmental
entities including cities, counties and school districts. Currently, he represents, in a general capacity, the
Pharr San Juan Alamo ISD, South Texas Ccllege and The Economic Development Corporation of
Weslaco.

 

Case 7:15-cv-00465 Document 1-5 Filed in TXSD on 11/06/15 Page 30 of 70

4 Expert Opinion & Report
I have been engaged as counsel to the Pharr San Juan Alarno ISD, In that regard, l provide general

legal services to the school district upon assignment of specific matters and am compensated at the rate of
$200 per hour.

Iwas assigned the matter of reviewing the school district’s substantial cost increases resulting from
change orders to contracted work to Texas Descon Construction during the construction of district
Jefferson T STEM High School Phases l and ll (the “Project”).

In connection with that review, the school district assigned two of its employees, Messrs. Rene
Campos, Finance Dept. and Agustin Rodriguez, Facilities Dept. to the matter. I have Worked with these
gentlemen in reviewing numerous documents related to the design and construction of the Project. The
school district filed a lawsuit, originally against ERO Architects, the design architect on the Project and
Texas Descon Construction. After initial discovery, the school district joined additional defendants: Frank
Lam & Associates, structural engineers, a consultant to ERO Architects, and the school district’s property
insurance carrier, Chubb Insurance, and its consultant, Rirnkus Engineers.

From the inception of this case, l have been involved in gathering documentation and evidence
regarding the facts of the case, interviewing witnesses and developing theories of recovery for the school
district’s claims. l have also communicated with and obtain reports from expert witnesses l have
prepared and filed the lawsuit in this, along with associates in the law firm, engaged in discovery, obtained,
reviewed and organized thousands of documents

The_ attached ledger contains fees and costs incurred in connection with this case,

It is my opinion that the attorney time spent and the hourly rates billed for work on this case have
been reasonable and necessary in light of the extent cf the demands required of this case. l have practiced
for over 30 years in South Texas and believe that the hourly rates which we have charged for this work
are reasonable for lawyers with the education and experience which we possess

drag

Jcsusd‘(am'n'cz

 

in XSDon _06/15 P.o-

      
      
  
     

Appraisal Report of

 

An Existing Educcltionc\| Bullding
(o'kcl Stomlcclugh Bullding)

714 E. US Business Highwcly 83
Phclrr, Texcls 78577

 

P re p cl red F o r

Mr. R'ene Ccimpos

PHARR-SAN JUAN-ALAMO |SD
601 Ecls'r Ke|ly Avenue

Phcxr'r, Texas 78577

Dcl'te of Report
October 8, 2014

Aguirr'€ § Fatterson, lne.

BETO R. AGU|RRE, Assoclaie
CONNIE _C. F|ELDER, Assoc|aie
JOE E. Ci-!EANEY. Associate

 

 

Case 7:15-cv-00465 Document 1-5 Filed in TXSD on 11/06/15 Page 32 of 70

Aguirrc §>' Fai:terson, nc.

 

REAL ssrATE APPRAlsERs
JOE W. PATTERSON, MA|. SRA

CHR|S THOMPSON. Assoclaie
EL|Z.ABETH RUB|O, Associaie

B|l_.LY G. DOYLEl Associale BR|AN K. FAYNE, `Asscclaie

KiM E. RANSDN. Aasucin|e GRISELDA GUERRERO. Associaie
TlSH KEAT|NG. Aeso¢iatn CAREN RAM|R`EZ. Assoclaie
JNME J. AGUIRRE, Asaoclale JULE KIRBY. 'Associaie

October 8, 2014

Mr. Rene Coimpos

PHARR-SAN JUAN~ALAMO iSD
601 Ecist Ke|ley Avenue

Pharr, Texos 78577

RE= Retrospective Approiscii Report of the Stcimbough Bullding located ot 714 E. US Business
Highwciy 83, Phcirr, Texas 78577.

Deor Mr. Compos:

in accordance with your request, we submit on appraisal report of the above referenced
property, which is identified on page 1 1 of the attached report. The property wc\s inspected on
September 29, 2014.

The purpose of the appraisal is to provide the opprei`sers' opinion of the retrosp_ective market
ygiy_g estimate of the sub|ect property as of the effective dote indicated in the appraisal end
according to the definitions contained in the written report cind sub|ect to the Underiying
Assumptions and Limiting Conditions contained herein. This appraisal ls intended to conform to the
generally accepted appraisal standards as evidenced by the Uniform Stc\ndclrds of Professionci|
Appraisal Prcictice.

As ci result of the appraisal end onolysis, it is the opprelsers' opinion that the retrospective
market value of the sub|ect, crs ot Februor»y i, 2012, excluding FF&E, w.os as foilows:

THREE HUNDRED AND FlFTY--THREE THOUSAND DOLLARS
($353,'000.00.)

Bosed upon the appraisers analysis of post events assuming c competitive and open market, the
appraisers estimate ci reasonable marketing period for this type of property ot the market value
estimated in this report to not exceed twenty-four months.

Bciseci upon the epprciisers' analysis of pcist events assuming cl competitive end open market, the
appraisers estimate o reasonable exposure period for this type of property cit the market value
estimated in this report would not hcive exceeded twenty~four months.

3315 NORTH MCCOLL RD. ' MCALLEN. TX 78501~(956)686~4532 ~ FAX (956) 686-6011
EMA|LZ JPATTERSON@AGU|RREANDPATTERSON.COM

iRENE B. THOMPSON, Assoc|ale

 

Case 7:15-cv-OO465 Document 1-5 Filed in TXSD on 11/06/15 Page 33 of 70

inter Nationa| Bank
October 8, 2014

The supporting data and the analysis and conclusions upon which this value is based are contained
in the accompanying report.

Respectfully submitted,

amo@w@eo

 

.ioe Patterson, MA'|, SRA irene B. Thompson
President, TX-i 321595-G Associate, T-X-1336175-G
Aguirre & Patterson, inc. Page 3

Appraisal Report of the Stambaugh Bullding

 

Case 7:15-cv-00465 Document 1-5 Filed in TXSD on 11/06/15 Page 34 of 70

TABLE OF CONTENTS

 

 

 

 

Tl.TLE PAGE ................. . ........................................................................................................................................... 1
LE-TTER OF TRANSM|TTAL ............................................ . ........................................... . ..... ................................. 2
TABLE OF CONTENTS ........................................................................................................................................... 4
CERT|F|CAT|ON ...................................................................................................................................................... 6
SUN\MARY OF lMPORTANT DATA ............................. ..... , ................................................................... . ......... 7
PREFACE .............. . ................ .................................................................................... .................................. 10
PREM|SES OF THE APPRA|SAL ......................................................... . ................................................................ 1 1
|DENT|F|CAT|ON OF THE PROPERTY ...................................... . .................................................................. 1 1
PROPERTY RlGHTS APPRA|SED .............. . .............................................. . ..................................................... 1 1
lNTENDED USE OF THE APPRA|SAL ........................................................................................................... 1 1
lNTENDED U$ER OF THE APPRAISAL ................ . ............................................................... . ........................ 1 1
SCOPE OF THE APPRA|SAL ........................ . ............... , ........................................................ . ....................... 1 1
MARKET VALUE DEFINED .................................................................................... . ........................................ 1 2
L|MlTlNG CO.ND|T|ONS AND ASSUMPT|ONS ...................... . ........................... ........................................ 13
PHARR ClTY ANALYS|S ......................... .. ........................................ . ......................... 19
ClTY OF PHARR MA`P ....... . ....................................... .....,... ............... ... ........................................... . .............. 28
SUBMARKET ANALYS|S ..................................................................................................................................... 29
SUB'MARKET MAP. ........................ . ............ . ..... . .......................... . .................................................................. 30
S|TE ANALYS|S ................................................................................................................ 31
DESCR|PT|ON OF lMPROVEMENTS ..................................................... ....................................................... 32
SPEC|F|C CONSTRUCT|ON DESCR|PT|ON: ................. . ............................................................................. 32
COMMENTS REGAR_D|NG COND|'T|ON AND ENV|RONMENTAL CONCERNS ......... . ....................... 33
BU|LD|NG BREAKD`OWN OF COST TO REPA|R PHYS|CAL DEF|C|ENC|ES: ........................................ 34
BU|LDER'S COST ESTlMA'TE: ............................................................. . .............................. . .............. ,.. ........... 35
lMPR_OVEMENT S|(ETCH ............................................................................................................................... 42
SUBJECT lN-TER-IOR FLOOR PLAN ............................................................................................................... 43
GOOGLE EARTH AERlAL P-HOTOGRAPH .......... . ...................................................................................... 44
SUBJECT PHOTOGRAPHS ........................................................................................................................... 45
ANALYS|S AND STATEN\ENT OF H|GHEST AND BEST USE.. 50
APPR'A|SAL PROCESS..... ....... . ...................................... . ....................... . ............................................ . ................ 53
INCOME CAP|TAL|ZAT|ON APPROACH .......... .. .................. . ..................................................................... .....54
CONTRACT RENT ................ . ..... . ....................... . ........................................................................................... 54
COMPARABLE RENTAL DATA ......................... . ................... . ................. . ......................................... . ............ 54
COMPARABLE RENT GR|D .................................. . .................................. 58
ALLOWANCE FOR VACANCY AND COLl.ECTlON LOSS ...................................................................... 59
OPERAT|NG EXPENSES ............................................................... ... ..................................... . ............... ......... 59
PROJECTED OPERAT|NG STAT-EMEN`T ......... . ..................................................................................... ...... 60
CAPITAL|Z_AT|ON ANALYS|S ...................................................................................................................... 60
MORTGAGE AND EQU|TY BAND OF lNVESTMENT CAP|TALIZAT|ON ................. . ............................. 62
EST|MATED LAND CO`MPONENT ............................................................... ...... .................................... ....65
EST|MATED MARKET VALUE BY lNCOME CAP|TAL|ZAT|ON APPROACH ........................................... 66
SALES COMPAR|_SON APPROACH .......... . ........ . .............................................................................................. 67
DEF|N|TION AND SCOPE ............. . ............................................................................................................... 67
Agulrre & Patterson, lnc. Page 4

Appraisal Report ot the Stambaugh Bullding

 

Case 7:15-cv-00465 Document 1-5 Filed in TXSD on 11/06/15 Page 35 of 70

TABLE or coNTENTs (coNTlNuED)

 

 

 

 

 

 

COMPA'RABLE S_ALES ........... . ........ . ........... 68
COMPARABLE SAL`E$ ANALYS|S.. .. ...... .. . 73
EST|MATED AS |S VALUE BY SALES COMPAR|SON APPROACH.. ....................................................... 73
CORR_ELATION .......................................................................... . .......................................................... . ............... 74
CERT-|F|CATE OF VALUE ................................ . ..................... .....75
A'DDENDUM .................................................................................. ............. 76
QUAL|F|CAT|ONS OF THE APPRA|SER ....... . .......... ...78
Aguirre & Patterson, lnc. Page 5

Appraisal Report of the Stambaugh Bui|ding

 

 

Case 7:15-cv-00465 Document 1-5 Filed in TXSD on 11/06/15 Page 36 of 70

CERT|F|CAT|ON

i certify that, to the best of my knowledge and beiief:

v’ The statements of fact contained in this report are true and correct.

»/ The reported analyses, opinions, and conclusions are limited only by the reported assumptions
and limiting conditions and are my personai, impartiai, and unbiased professional analyses,
opinions, and conciusions.

\/ l have no present or prospective interest in the property that is the subiect of this report and no
personal interest with respect to the parties involved.

\/ i have no bias with respect to the property that is the subject of this report or to the parties
involved with this assignment.

‘/ My engagement in this assignment was not contingent upon developing or reporting
predetermined results.

\/ My compensation for completing this assignment is not contingent upon the development or
reporting of a predetermined value or direction in value that favors the cause of the client, the
amount of the value opinion, the attainment of a stipulated resu|t, or the occurrence ot a
subsequent event directly related to the intended use of this appraisa|.

'/ i have not performed an appraisal related service ot the subiect property within the three years
prior to this assignment

\/ The reported analyses, opinions, and conclusions were developed, and this report has been
prepared, in conformity with the requirements of the Code ot" Professional Ethics & Standards of
Professionai Appraisal Practice of the Appraisal lnstitute.

‘/ The reported analyses, opinions, and conclusions were developed, and this report has been
prepared, in conformity with the Uniform Standards ot' Professiona| Appraisal Practice.

»/ The use of this report is subiect to the requirements of the Appraisal Institute relating to review
by its duly authorized representatives

\/ i have (or have not) made a personal inspection of the property that is the subiect of this report.

»/ No one provided significant real property appraisal assistance to the persons signing this
certitication.

\/ As of the date of this report, Joe W. Patterson, MA|, SRA has completed the continuing
education program of the Appraisal lnstitute.

M »__Did x aid NoiPhysicqiiy

Joe Patterson, MAI, SRA inspect the Property
TX~1321595-G
Sigrted: October 8, 2014

l : _g<_Did__i:)id Nori>hysicquy

irene B. Thomp.son inspect the Property
TX-1336175-G
Signed: Ociober 8, 2014

 

 

Aguirre & Patterson, lnc. Page 6
Appraisal Report of the Stambaugh Bullding

 

Case 7:15-cv-00465 Document 1-5 Filed in TXSD on 11/06/15 Page 37 of 70

SUMMARY OF lMPORTANT DATA

TYPE P-ROPERTY: Exist|ng Educatlonal Bullding
LOCAT|ON: 714 E. US Business Highway 83, Pharr, Texas 7‘8577

DESCRlPTiON: The subiect consists of a building that is commonly referred to as the Stambaugh
Buiiding. The anoraiser‘s value estimate is for the building onlv. N'o land component is
included in the retrospective value opinion. The building was originally constructed of brick
veneer over concrete block perimeter walls, on a grade-level concrete slab foundation with
a modified built-up roof sometime in early 1980's. The exact date is unknown. The interior
of the building was partitioned into several classrooms. lt is understood that the subiect
building was not in use as of the effective date,

SiTE SIZE: Not applicable At the request of the client, the appraiser's retrospective value opinion
includes the building value only.

ZONlNG: PSJA (school use).
RETROSPECTlVE MARKET VALUE OP|N|ON .............................................................................. $353,000.00
EFFECTlVE DATE OF RETROSP-ECT|VE MARKET VALUE OP|N|ON ......... . ....................... February i, 201 2

COMMENTS REGARD|NG EF_FECT|VE DATE: The client has requested the appraisers provide a
retrospective value opinion of the subject building. A Retrosp'ective Va|ue is defined as "a
value opinion effective as of a specified historical date. The term does not define a type of
value. lnstead, it identifies a value opinion as being effective at some specific prior date."‘

PRESENT USE/USE APPR-AISED: As of the effective date, the sublect was improved with a classroom
building. The appraisers' value estimate reflects the highest and best use.

MARKET|NG PER|OD: With adequate advertising, exposure and aggressive marketing, the
appraisers estimate the marketing period not to exceed twenty~four months. This is based
primarily on marketing data presented in the Multip|e Listing Service and the appraisers'
knowledge of this particular submarket.

EXPOSURE PERlOD: Based upon the appraisers' analysis of past events assuming a competitive
and open market, the appraisers estimate a reasonable exposure period for this type of
property at the market value estimated in this report would not have exceeded twenty-four
months.

TERN\S: Typical terms would be 10% to 30% down; 5% to 10% interest rate; amortized over a
period of 15 to 30 years; term of 3 to 30 years.

ENVIRONMENTAL CONCERNS: The appraisers have been informed that the subiect building had
asbestos containing material as of the effective date of the retrospective value opinion.

 

Aguirre & Patterson, inc. Page 7
Appraisal Report of the Stambaugh Bullding

 

Case 7:15-cv-OO465 Document 1-5 Filed in TXSD on 11/06/15 Page 38 of 70

SUMMARY OF lMPORTANT DATA (contlnued)

According to an Asbestos Survey Report dated May 9, 201 1, conducted by Envirotest, Ltd.
ACN\ was discovered in the floor tl|e. The asbestos-containing floor tile was in good
condition and considered non-friable. An assumption is made by the appraisers that as of
the effective date, the condition of the ACM was the same.

OWNERSH|P HlSTORY: According to the l-iidalgo County Appraisal Distrlct, the current owner of
record is PSJA lSD. The sub|ect does not appear to have changed ownership not been listed
for sale through the local MLS within the past three years. The further information was
discovered by the appraisers in the normal course of business

PERSONAL PROPERTY= This appraisal does not include furniture, flxtures, or equipment in the
market value estimate The exclusion of these items is estimated to have no impact on the
market value estimate. The appraisal does not include any intangible items such as
trademarks or good will.

TAXES: The sub|ect property is owed by a tax exempt entity.

MARKET TRENDS: Signs of recent sales activity an'cl increased lending indicate that the local real
estate market is recovering from a stagnant economic climate. This trend of recovery is
expected to continue.

PERTINENT lNFORMAT|ON: No environmental study as of the effective date was provided.

STATEMENT OF COMPL|ANCE: This appraisal ls intended to conform to generally accepted
appraisal standards as evidenced by the Uniform Standarcis of Professlonai Appraisal
Practlce.

STATEMENT OF COMPETENCY: The appraisers have a total of over 59 years experience in the
real estate appraisal business, which includes the appraisal of similar pro|ects; therefore,
have attained the necessary knowledge and experience to competently complete this
assignment (See Quallficatlons).

DATA SOU.RCES: Sources used in investigating comparables sales include local multiple listing
services, national commercial property listing services, lender-s,- realtor-s, deed records,
builders, developers-, title companies, individuals and other appraisers

lNCOME PROPERTY PROVIS\ON: Not applicable

CONT|NGENCY PROV|S|ON: The appraisers certify that their compensation is not contingent upon
the reporting of a predetermined _value or direction in value that favors the cause of the
client, the amount of the value estimate, the attainment of a stipulated resuit, or the
occurrence of a subsequent event. Furthermore, this appraisal assignment is not based on a
requested minimum valuation, a specific valuation, or the approval of a loan.

DlSCOUNTlNG PROCESS= The discounting process is only considered applicable when: i) the
subject is proposed construction and lt is estimated that the construction will take over six

 

Aguirre & Patterson, lnc. Page 8
Appraisal Report of the Starnbaugh Bullding

 

Case 7:15-cv-OO465 Document 1-5 Filed in TXSD on 11/06/15 Page 39 of 70

SUMMARY OF lMPORTANT DATA (contlnued)

months to complete; 2) the sub|ect is partially leased and the absorption period is estimated
to be more than six months; 3) the sub|ect is being leased at other than market rent; or 4~)
the subiect is a large protect with several unsold units. The discounting process not deemed
necessary in the valuation of the subject property.

STATEMENT CONCERN|NG DlSABiLlTiES ACT: The Americans with D|sabi|ities Act ("ADA") became
effective January 26, `|992. The appraisers have not made a specific compliance survey
and analysis of this property to determine whether or not it is in conformity with the various
detailed requirements of_ the ADA. lt is possible that a compliance survey of the property,
together with a detailed analysis of the requirements of the ADA, could reveal that the
property is not in compliance with one or more of the requirements of the Act. if so, this fact
could have a negative effect upon the value of the property. Since the appraisers have no
direct evidence relating to this issue, possible noncompliance with the requirements of ADA in
estimating the value of the property has not been considered.

CENSUS TRACT: According to the U,S. Geological Survey Department, the subiect is located in
Census Tract 214.0i, l'lida|go County, Texas.

FLOOD DES|GNAT|ON.~ The appraisers are not experts in determining the flood zone designation
for the sublect. No responsibility is assumed on our part for accurately determining the
sub|ect's flood zone. lf an official survey or flood designation certificate is not provided, the
appraisers estimate flood designation based on available FEMA flood maps and/or
recorded subdivision maps. Because some of the information may be inconclusive, the
appraisers' opinion of value is predicated on the assumption that the flood zone indicated
herein is correct. According to FlRM Panel No. 480347 0005 C, revised October 19, 19'82,
the subiect is located within flood zone "B" (sub[ect to survey), which is NOT a special flood
hazard area.

PROPERTY lNSPECTiON D|SC|.A|MER: The appraisers are not licensed property inspectors. An
inspection conducted by an appraiser is not the equivalent of an inspection by an inspection
professional such as a structural engineer or a licensed property inspector. The extent of
the appraiser‘s inspection process is an aspect of the scope of work, and may vary based
on assignment conditions and the intended use of the assignment results. The appraiser.’s
inspection is limited to those things readily observable without the use of special testing or
equipment. The Appraiser has inspected as_ far as possible, by observation, the
improvements and iand; however, it was not possible to personally observe conditions
beneath the soil or other hidden components. No representations are made herein as to
these matters unless specifically stated and considered in the report.

DATE OF THE REPORT= The assemblage of the descriptions, analysts, and conclusions occurred on or
about October 8, 2014, and is considered the date of the report.

 

Aguirre & Patterson, inc. Page 9
Appraisal Report of the Stambaugh Bullding

 

Case 7:15-cv-OO465 Document 1-5 Filed in TXSD on 11/06/15 Page 40 of 70

PREFACE

An appraisal is a type of research into the laws of probabilities with respect to real estate
transactions The insurance industry can reliably predict that out of so many exposures a certain
number of losses will occur. They, of course, cannot predict the exact insured on whom this loss will
fa|l. The appraiser can predict the general real estate market with much greater certainty than he
can the value of a specific piece of property.

The appraiser who estimates market value of a particular property is merely stating his
opinion of what such property most likely will bring in dollars if it is exposed for sale on the open
market allowing a reasonable time for buyers to inspect and investigate before making their offers.

Through the appraiser's education, training, experience, and integrity he is able to relate
how sellers and buyers have acted in the past into a forecast of how they most likely will act to the
particular property in question. Because each particular property is different and unique, he must
by necessity make ad|ustments in making comparisons to arrive at his final conclusions

An appraisal does not necessarily set the price to be paid. it should be used to form a
basis of negotiation between owner and prospective purchaser or between lender and borrower or
between condemnor and condemnee.

This appraisal is not guaranteed lt cannot be proven. if the property brings the estimated
value herein, or if a mortgage is predicated thereon-, or if a settlement is made as a result of such
estimated value, it merely means the parties concerned agreed with the appraiser. The parties
may disagree and this does not disprove the estimated value. lt merely means a difference of
opinion.

Prices paid and awards made often reflect sentiment, compassion, sympathy, bias, poiitics,
personal interest, specific needs, lack of understanding and other factors not considered by the
impartial appraiser. The final opinion of value is the result of a professional opinion and analysis of
a considerable quantity of physical and economic facts. The methods used in the analysis are
explained in the appraisal report. The reader is invited to draw his own conclusions in the event of
a difference of interpretation of the facts within the report.

This appraisal is made subiec't to certain basic assumptions, definitions and limiting

conditions. These should be read by the reviewer.

 

Aguirre & Patterson, |nc. n Pago 10
Appraisal Report of the Stambaugh Bullding

 

Case 7:15-cv-OO465 Document 1-5 Filed in TXSD on 11/06/15 Page 41 of 70

PREM|SES OF THE APPR-A|SAL

identification gf_ the-Prgperfy
The subject property consists of the building commonly known as the Stambaugh Bullding
which is located at 714 E. US Business Highway 83. The land is not included in the Retrospective

Value Opinion; therefore there is no specific legal description

Pro ert R' htsA rcii
This appraisal requires that the ownership of the subject property include all rights to title
that may be legally owned. Such ownership is termed “fee simp|e" and said ownership is the

property rights appraised in this report, excluding oil, gas and other mineral rights and subject to

easements of record.

intended LJ§§ Qf the Agprr.tl§gl
The intended use of this appraisal is for client use in resolving a legal matter pertaining to

the subject building improvements.

lnten cl srofth A ri |

The intended user of the appraisal is the PSJA independent School District.

§gopg of the Apgrgi§g|

At the client's request, an appraisal report of the subject property is prepared which
conforms to generally accepted appraisal standards as evidenced by the Uniform Standards of
Professiona| Appraisal Practice promulgated by the Appraisal Standards Board of the Appraisal
Foundation and the Gulde Notes to the Standards of Professional Appraisal Practice adopted by
the Appraisal lnstitute. Per agreement with the client, the appraisers' engagement includes the
following= perform a physical inspection of the subject property as of the current date,~ examine
photographs and demolition plans depicting the subject as of February i, 20i 2; analyze data such
as demographics, supply and demand, property size, location and zoning; perform a highest and
best use analysis of the subject property; consider all approaches to value and complete the
applicable approaches to value, o'f which the income Capita|ization Approach and the Sales
Comparison Approach to value are considered applicable and include research and analysis of

comparable improved sales and rental data, vacancy and occupancy rates, operating expenses,

 

Aguirre & Patterson, lnc. Page l l
Appraisal Report of the Stambaugh Bullding

 

Case 7:15-cv-OO465 Document 1-5 Filed in TXSD on 11/06/15 Page 42 of 70

PREM|SES OF THE APPRA|SAL (contlnued)

and discount rates; and, analyze and correlate the data and present the conclusion and opinion of

retrospective market value in a narrative appraisal report tormat.

Mari<et Va|ue Detine;i

The most probable price which a property should bring in a competitive and open market
under all conditions requisite to a fair saie, the buyer and seller each acting prudently and
knowledgeably, and assuming the price is not affected by undue stimulus. implicit in this definition is
the consummation of a sale as of a specified date and the passing of title from seller to buyer
under conditions whereby:

i. Buyer and seller are typically motlvated.

2. Both parties are well informed or well advised, and acting in what they consider
their best interests.

3. A reasonable time is allowed for exposure in the open ma rket.

4-. Payment is made in terms of cash in United States dollars or in terms of financial
arrangements comparable thereto.

5. The price represents the normal consideration for the property said unaffected by
special or creative financing or sales concessions granted by anyone associated with
the sale.

Sources: The Of_t"ice of the Comptroller of Currency 12 C.F.R., Part 34, Subpart C-i Appraisa|s 34-
42 Detinition (g); and, The Code ot Federa| Reguiations, Titie 12, Chapter i|i, Subchapter B, Sect.
323.2(9) '

 

Aguirre & Patterson, lnc. Page 12
Appraisal Report of the Stamba'ugh Bullding

 

Case 7:15-cv-OO465 Document 1-5 Filed in TXSD on 11/06/15 Page 43 of 70

LlM|TlNG COND|T|ONS AND ASSUMPT|ONS

By this notice, all persons and firms reviewing, utilizing or relying on this report in any manner bind
themselves to accept these assumptions and limiting conditions. Do not use this report if you do not
so accept. These conditions are a part of the appraisal report, they are a preface to any
certification, definition, factor analysis, and are intended to establish as a matter of record that the
appraiser`s function is to provide a present market value indication for the subject property based
upon the appraiser's observations as to the subiect property and real estate market, This appraisal
report is an economic study to estimate value as defined in it. it is not an engineering, construction,
legal or architectural study nor survey and expertise in these areas, among others, is not implied`.

i. LiMiT OF LiAB|LiTY=

The liability of the Patterson firm and employees and affiliated independent contractors is limited
to the client only and to the fee actually received by appraiser (totai per appraisai). Further, there
is no accountability, obligation, or liability to any third party. if this report is placed in the hands of
anyone other than client, the client shall make such part-y aware of ali limiting conditions and
assumptions of the assignment and related discussions. The Appraiser is in no way to be responsible
for any costs incurred to discover or correct any deficiencies of any type present in the property;
physical|y, financially, and/or iegal|y. in the case of limited partnerships or syndication offerings or
stock offerings in real estate, client agrees that in case of lawsuit (brought by lender, partner or
part owner inany form of ownership, tenant, or any other party), any and ali awards, settlements
of any type in such suit, regardless of outcome, client will hold Appraiser completely harmless in any
such action.

2. COPiES, PUBL|CAT|ON, DiSTRiBUT|ON, USE OF REPORT:

Possession of this report or any copy thereotc does not carry with it the right of publication, nor may
it be used for other than its intended use; the physical report(s) remain the property of the
Appraiser for the use of the client, the fee being for the analytical services only.

The By|aws and Regulations of the American institute of Reai Estate Appraisers ot the Nationai
Associati.on of Reaitors require each Meml:)er and Candidate to control the use and distribution of
each appraisal report signed by such Mern`ber or Candidate; except as hereinafter provided, the
client may distribute copies of this appraisal report in its entirety to such third parties as he may
select; however, selected portions of this appraisal report shall not be given to third parties without
the prior written consent of the signatories of this appraisal report. Neither all nor any part of this
appraisal report shall be disseminated to the general public by the use of advertising media, public
reiations, news, sales or other media for public communication without the prior written consent of
appraiser. (See last item following this list for client agreement-consent).

3. CONF|DENT|AL|TY:

This appraisal is to be used only in its entirety and no part is to be used without the whole report.
Ail conclusions and opinions concerning the analysis as set forth in the report were prepared by the
Appraiser(s) whose signature(s) appear on the appraisal report, unless indicated as "Review
Appraiser". No change of any item in the report shall be made by anyone other than the
Appraiser and/or officer of the tirm. The appraiser and firm shall have no responsibility if any
such unauthorized change is made.

 

Aguirre & Patterson, lnc. Page i3
Appraisal Report of the Stambaugh Bullding

 

Case 7:15-cv-OO465 Document 1-5 Filed in TXSD on 11/06/15 Page 44 of 70

LiMiTiNG COND|T|ONS AND AS~SUN\PT|ONS (contlnued)

The Appraiser may not divulge the material (evaiuation) contents of the report, analytical findings
or conciusions, or give a copy of the report to anyone other than the client or his designee as
specified in writing except as may be required by the American institute of Reai Estate Appraisers
or the Society of Reai Estate Ap_praiser's as they may request in confidence for ethics enforcement,
or by a court of law or body with the power of subpoena.

4. TRADE SECRETS:

This appraisal was obtained from Aguirre and Patterson, |nc. or related companies and/or its
individuals or related independent contractors and consists of "trade secrets and commercial or
financial information" which is privileged and confidential and exempted from disclosure under 5
U.S.C. 552 (b) (4). Notify the Appraiser(s) signing report or an officer of Aguirre and Patterson,
inc., of any request to reproduce this appraisal in whole or part.

5. iNFORMATiON USED:

No responsibility is assumed for accuracy of information furnished by work of or work by others, the
client, his designee, or public records. We are not liable for such information as the work of
possible subcontractors. Be advised that some of the people associated with Aguirre and Patterson,
lnc. and possibly signing the report are independent contractors. The comparable data relied upon
in this report has been confirmed with one or more parties familiar with the transaction or from
affidavit or other source thought reasonable; ali are considered appropriate for inclusion to the
best of our factual iudgment and knowledge. An impractical and uneconomic expenditure of time
would be required in attempting to furnish unimpeachable verification in ali instances, particularly
as to engineering and market-related information. it is suggested that the client consider
independent verification as a prerequisite to any transaction involving sa|e, iease, or other
significant commitment of funds to the subiect property.

6. TESTiMONY, CONSULTATiON, COMPLETION OF CONTRACT FOR APPRA|SAL SERV|CE:

The contract for appraisai, consultation or analytical service is fulfilled, and the total fee is payable
upon completion of the report. The Appraiser(s) or those assisting in preparation of the report will
not be asked or required to give testimony in court or hearing because of having made the
appraisai, in full or in part, nor engage in post appraisal consultation with client or third parties
except under separate and special arrangement and at additional fee. if testimony or deposition
is required because of any subpo_ena, the client shall be responsible for any additional time, fees,
and charges regardless of issuing party.

7. EXi~iiB.iTS=

The sketches and maps in this report are included to assist the reader in visualizing the property
and are not necessarily to scaie. Various photos, if any, are included for the same purpose as of
the date of the photos. $ite plans are not surveys unless shown from separate surveyor.

8. LEG_AL, ENG|NEERiNG, F|NANCIA`L, STRUCTURAL, OR MECHAN|CAL NATURE H|DDEN
COMPONENT$, SO|L=

The appraiser and/or firm have no responsibility for matters legal in character or nature, nor of
any architectural, structurai, mechanicai, or engineering nature. No opinion is rendered as to the
title, which is presumed to be good and merchantabie. The property is appraised as if free and
ciear, unless otherwise stated in particular parts off the report. The legal description is assumed to

 

zguirre & Patterson, inc. Page 14
Appraisal Report of the Stambaugh Bullding

 

 

Case 7:15-cv-OO465 Document 1-5 Filed in TXSD on 11/06/15 Page 45 of 70

l.|MlTlNG CONDiTlONS AND ASSUMPT|ONS (contlnued)

be correct as used in this report as furnished by the client, his designee, or as derived by the
Appraiser.

Piease note that no advice is given regarding mechanical equipment or structural integrity or
adequacy, nor soils and potential for settlement, drainage, and such (seel< assistance from qualified
architect and/or engineer) nor matters concerning iiens, title status, and legal marketability (seek
legal assistance), and such. The lender or owner may wish to require mechanical or structural
inspections by qualified and licensed contractor, civil or structural englneer, architect, or other
expert.

The Appraiser has inspected as far as possible, by observation, the land and the lmprovements;
however, it was not possible to personally observe conditions beneath the soil or hidden structura|,
or other components We have not critically inspected mechanical components within the
improvements and no representations are made herein as to these matters unless specifically stated
and considered in the report, The value estimate considers there being no such conditions that
would cause a loss of value. The land or the soil of the area being appraised appears flrm,
however, subsidence in the area is unknown. The Appraiserls) do not warrant against this condition
or occurrence of problems arising from soil conditions.

The appraisal is based on there being no hidden, unapparent, or apparent conditions of the
property site, subsoil, or structures or toxic materials, which would render it~ more or less valuable.
The appraiser and firm have no responsibility for any such conditions or for any expertise of
engineering to discover them. Ail mechanical components are assumed to be in operable condition
and status standard for properties of the sub|ect t.ype. Condltlons of heating, cooling, ventilating,
electrical and plumbing equipment is considered to be commensurate with the conditions of the
balance of the improvements unless otherwise stated. No judgment may be made by us as to
adequacy of insulation, type of insulation, or energy efficiency of the improvements or equipment,
which is assumed standard for sub|ect age and type.

if the Appraiser has not been supplied with a termite inspection, survey or occupancy permit, no
responsibility or representation is assumed or made for any costs associated with obtaining same or
for any deficiencies discovered before or after they are obtained. No representation or
warranties are made concerning obtaining the above mentioned items.

The Appraiser has no responsibility for any costs or consequences arising due to the need, or the
lack of need for flood hazard |nsurance. An Agent for the Federai F|ood insurance Program should
be contacted to determine the actual need for F|ood Hazard insurance.

9. LEGAL|TY OF USE:

The appraisal is based on the premise that, there is full compliance with all applicable federa|,
state and local environmental regulations and laws unless otherwise stated in the report; further,
that all applicable zoning, building, use regulations and restrictions of all types have been complied
with unless otherwise stated in the report; further, it is assumed that ali required iicenses, consents,
permits, or other legislative or administrative authority, local, state, federal and/or private entity or
organization have been or can be obtained or renewed for any use considered in the value
estimate.

 

Aguirre & Patterson, lnc. Page 15
Appraisal Report of the Stambaugh Bullding

 

Case 7:15-cv-OO465 Document 1-5 Filed in TXSD on 11/06/15 Page 46 of 70

LlMlT|NG COND|T|ONS AND ASSUMPT|ONS (contlnued)

iO. COMPONENT VALUES:

The distribution of the total valuation in this report between land and improvements applies only
under the existing program of utilization. The separate valuations for land and building must not
be used in coniunctlon with any other appraisal and are invalid if so used.

i i. AUXlLlARY AND RELATED STUD|ES:

No environmental or impact studies, special market study or analysls, highest and best use analysis
study or feasibility study has been requested or made unless otherwise specified in an agreement
for services or in the report,

i2. DOLLAR VALUES, PURCHAS|NG POWER:

The market value estimated, and the costs used, are as of the date of the estimate of value. Ail
dollar amounts are based on the purchasing power and price of the dollar as of the date of the
value estimate.

13. lNCLUSlONS=

Furnishings and equipment or personal property of business operations except as specifically
indicated and typically considered as part of real estate, have been disregarded with only the real
estate being considered in the value estimate unless otherwise stated. in some property types,
business and real estate interests and values are combined.

14. PROPOSED iMPR.OVEMENTS, COND|T|ONED VALUE;

improvements proposed, if any, on or off-site, as well as any repairs required are considered, for
purposes of this appraisal to be completed in good and workmanlike manner according to
information submitted and/or considered by the appraisers in cases of proposed construction, the
appraisal is subject to change upon inspection of property after construction is completed This
estimate of market value is as of the date shown, as proposed, as if completed and operating at
levels shown and prolected.

i5. VALUE CHANGE, DYNAM|C MARKET, |NFLUENCES, ALTERATION OF EST|MATE BY APPRA|SER=

The estimated market value, which is defined in the report, is sub|ect to change with market changes
over time; value is highly related to exposure, time, promotional effort, terms, motivation, and
conditions surrounding the offering. The value estimate considers the productivity and relative
attractiveness of the property physically and economically in the marketplace

in cases of appraisals involving the capitalization of income benefits the estimate of market value
or investment value or value in use is a reflection of such benefits and Appraiser's interpretation of
income and yields and other factors derived from general and specific client and market
information. Such estimates are as of the date of the estimate of value,- they are thus subject to
change as the market and value is naturally ,dynamic.

The "Estimate of Marke.t Value" in the appraisal report is not based on whole or in part upon the
race, color or national origin of the present owners or occupants of the properties in the vicinity of
the property appraised.

 

Aguirre & Patterson, |nc. Page 16
Appraisal Report of the Stambaugh Bullding

 

CaSe 7:15-cv-OO465 Document 1-5 Filed in TXSD on 11/06/15 Page 47 of 70

LlMlTlNG CONDlT|ONS AND ASSUMPTlONS (contlnued)

The appraisal report and value estimate is subiect to change if physical or legal entity or financing
is different than that envisioned in this report,

ié. MANAGEMENT OF THE PROPERTY:

lt is assumed that the property which is the subiect of this report will be under prudent and
competent ownership and management; neither inefficient nor super-efficient

i7. CONT|NU|NG EDUCA~T|ON CURRENT:

The Appraisal institute conducts a voluntary program of continuing education for its designated
members; MA| and SRA Designates who meet the minimum standards of this program are awarded
periodic educational certification and; MAl(s) signing the report is/are currently under this program.

i8. FEE:

The fee for this appraisal or study is for the service rendered and not for the time spent on the
physical report or the physical report itself. Amount or payment of fee for services is not contingent
on any result, approval amount or other estimates or statements

i9. iNSULAT|ON AND TOXlC MATER|ALS:

in this appraisal assignment, the existence of potentially hazardous material used in the construction
or maintenance of the building, such as the presence of urea-formaldehyde foam insulation, and/or
the existence of toxic material or waste, or other environmental hazards, which may or may not be
present on the property, has not been considered. The appraiser is not qualified to detect such
substances. We urge the user of this report to retain an expert in this field if desired. if such is
present, the value of the property may be adversely affected and, therefore, must be reappraised
at additional cost.

20. REV|EW':

Uniess otherwise noted herein-, named review Appraiser of/from Aguirre and Pattersonl lnc. has
reviewed the report only as to general appropriateness of technique and forrnat, and has not
necessarily inspected the subiect or market comparable properties

21 . CHANGES, MOD|F|CAT|ONS:

The Appraisers and /or officers of Aguirre and Patterson, inc., reserve the right to alter statements,
analysis, conclusions or any value estimate in the appraisal if there becomes known to us facts
pertinent to the appraisal process, which were unknown t'o us, when the report was finished.

22. FHLBB REGULATiONS=

Federai Home Loan Bank Board has special requirement for appraisals to be used by Sav'ings and
Loan Associations for some types of loans; this appraisal is not intended to be used for such unless
specifically stated otherwise in the report. Any additional res_earch, analysis, and report writing
may be undertaken at a later date upon client request at additional fee for time and costs.

23. AFTER TAX ANALYS|S AND/OR VALUATiON:

Any "after" tax income or investment analysis and resultant measures of return on investment are
intended to reflect only possible and general market consid_erations, whether as part of estimating
value or estimating possible returns on investment at an assumed value or price paid; note that the

 

Aguirre & Patterson, |nc. Page 17
Appraisal Report of the Stambaugh Bullding

 

Case 7:15-cv-OO465 Document 1-5 Filed in TXSD on 11/06/15 Page 48 of 70

L|MiTlNG CONDIT|ONS AND ASSUMPT|ONS (continued)

Appraiser(s) does not claim expertise in tax matters and advises client and any other using the
appraisal to seek competent tax advice as the Appraiser is in no way to be considered a tax
advisor or investment advis_or.

24. ACCEPTANCE OF, AND/OR USE OF, THiS APPRAISAL REPORT BY CLiENT OR ANY TH|RD
PARTY CONST|TUTES.ACCEPTANCE OF THE ABOVE COND|T|ONS. APPRA|SER LiABlLiTY EXTENDS
ONLY TO STATED CLiENT, NOT SUBSEQUEN-T PARTiES OR USERS OF ANY TYPE, and the total
liability of appraiser and firm is limited to the amount of fee received by Appraiser.

 

Aguirre & Patterson, inc. Page 18
Appraisal Report of the $tambaugh Bullding

 

Case 7:15-cv-00465 Document 1-5 Filed in TXSD on 11/06/15 Page 49 of 70

PHARR ClTY ANALYS|S

Gen§rgl

The City of Pharr, established in 1909, is located in the lower Rio

Grande Valley in Hldaigo County, Texas, approximately 150 miles south of
Corpus Christl and 140 miles southeast of Laredo. Pharr enioys all the same
natural resources, physical attributes, agricultural, and commercial trends that
the rest of the Lower Rio Grande Valley experiences

Encompassing an area of approximately 20 square miles, the
topography of the City and surrounding area is fairly level with an average

elevation of 108 feet above sea level. The average annual temperature is 73

degrees Fahrenheit.

P l tion D t owth Statisii

According to the U.S. Census Bureau, the
population of Pharr in 2010 was 70,400, a 50.9%
increase from 2000 figures which indicated 46,660

persons.

Pha rr to continue to increase.

The City of Pharr is located within the

Mc-Allen-Mission-Edlnburg Metropolitan

Ail indicators are for the population for

Statlstlcal

P§h;....a:rr _

 

i“iii
2006
- Averege_f-'i'-e_tnperatures-

seat ,

   
 
 

` unity high
err _" _ ':_
mg n '_ itu-erase
____ itMiYiow

t°‘f _ -
SZ"F :l"_' ' littman

Ja'n Fel>_ t.tsr'Apt i.tsv Jun' Jul Aug` Sep nat-lov'[)x '

Area which is defined by the US Census Burea.u as consisting of the County of Hida|go. From 1990

to 2000, Hidalgo County indicated a 48.5% growth rate, which was the 7'*‘ fastest growing county

in the state of Texas. The 2010 census figures are reporting 774,769 persons, which is a 36.1%

increase from 2000 figures.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

 

 

 

w _‘\ j
Hidtago County Popuiatlon City ot Pharr i’opuhiion
900.|]|]0 ' "' _'_ 80,000 -_
SUO,DDO -_----' -' _- se 701000 _ _ /....
700,000 - /-’ 50'000 _ _
soo,ono j 50,00° ____ _ __
lIl,IJ -~
5 ”° _ / iam ._ _
mm ;o 30000_ _ ..... _
300,000 -_~"- -__---___-- -' ~'- ~ - '
gw)gw ._ .__ ._._..._ ‘_:.___.. _ __ _____ _ 201000
macon __.T\-." - _~-- \0,000
0 -HT-., . v . . . . _-\ 0-~- -- ~- . . .
0 c o ,9 o o 0 o 0 o 0_ ,,o 4 do op bo 40 ve go o \o
.`q°° `¢\` 411y .¢\"' .3 `a°’ .`q" .¢\'\ `¢\'¥’ .3°‘ Wé‘ ,v<)" §§ `vi `vi 3 .`s 3 _`q sgt ,`9° ,\9
\5_0_ur_'cs U.S. Cm_iw,_`l_’o:x_u Reai Em¢e Ccn\_u _ S_out(et U.S. Cemus, Texas Reai Estate Center __J
Aguirre & Patterson, lnc. Page 19

Appraisal Report of the Stambaugh Bullding

 

Case 7:15-cv-00465 Document 1-5 Filed in TXSD on 11/06/15 Page 50 of 70

PHARR ClTY A'NALYS|S (continued)

E__rltployment égtlvity §§ Sg_urc§§
The major employers of the city are government, including the local school system, followed
by retail trade, followed by the health care field. Other employers include produce and citrus

shippers and accommodation and food services.

Tran§portgtion

Pharr is located at the intersection of the two main highways into and through the Val|ey,
U.S_. Highway 281 which runs north/south and leads directly into Mexico to the south, and San
Antonio to the north, and U.S. Expressway 83 which runs east/west and leads directly toward
Laredo to the west and Brownsvilie to the east. A Valley bus line provides ample public
transportation locally. The area is served by the Missouri Pacif-ic and Southern Pacific Railroads,
which connect Corpus Christi and San Antonio with the Me)<ican rail system through Matamoros,
Mexico. Pharr is only five minutes from Mi|ler international Airport in McAl|en, (ad|acent to Pharr),
which handles air travel to Corpus Christi, Houston and San Antonio as well as international flights to
the interior of Mexico.

The only port of entry into Mexico within the Pharr city limits is the Pharr-Reynosa
international Bridge, connecting U.S. Highway 281 to the City of Rey.nosa. Constructed in 1994, the
Pharr international B.riclge is one of the most technologically advanced border crossings in the
United States. GAMA Rays and Fast & Secure Trade __pro.gram, known as FAST are implemented by
both the U.S. and Mexican Customs, which allows an expedited inspection of documents and cargo,
and limits crossing time on the U.S.-Mexican border. As a resuit, the Pharr Bridge is quickly
becoming a primary industrial port. As the bridge continues to draw more and more attention,
development of industrial parks located in the southern sector of Pharr, and the surrounding areas is

expected to continue to increase.

lie tiol n hurches

The sami-tropical climate and ample rainfall combine to make Pharr very attractive to
winter tourists and retirees, an industry that is growing at a steady rate. Recreational facilities for
the area include fishing, beating and swimming in the Guif of Mexico (Paoire lsiand) and Falcon
Lake, both some 65 miles from Pharr in opposite directions. Th'ere are many bird sanctuaries in the

Valley along with a fine zoo, botanical gardens and parks. Golf is a sport enioyed here at Pharr's

 

Aguirre & Patterson, lnc. Page 20
Appraisal Report of the Stambaugh Bullding

 

Case 7:15-cv-00465 Document 1-5 Filed in TXSD on 11/06/15 Page 51 of 70

PHARR ClTY ANALYS|S (contlnued)

Plantation South Goif Course. The City of Pharr has fine parks, an Olympic-sized swimming poo|,
stadium and gymnasium. The Pharr Recreation Department offers a variety of programs for the
city's youth, including soccer, baseball, basketbail, track and field, goif, tennis, baiiet, guit'ar,
karate, etc. There are at least nine churches within the City of Pharr, many of which organize

additional community events and outreach programs.

industrial D§;vgioprnen};

The City of Pharr is encouraging industriaiization with the establishment of the several
industrial parks located on South U.S. Highway 281 near the site of the Pharr international Brialge.
The Pharr Economic Development Corporation, a non-profit organization, has had a positive impact
on drawing in business and industry development into the Pharr-Reynosa area and was responsible
for developing three industrial parks, the Pharr industrial Park, the Capote industrial Park, and
Keystone industrial Park, and has recently begun construction on a fourth industrial development, the
Pharr Produce District which is expected to be completed in 2014. The southern area of Pharr has

witness significant industrial growth in the past five years as a result.

§s;h_QQ.l§

Pharr is within the Pharr, San Juan and Aiamo independent School District which has 26
elementary schools, 8 middle schools, 4 high schools, and 5 alternative schools. Total enrollment is
over 31,000 students. Of these schools, 14 elementary, 4 middle schoois, and 2 high schools are
situated within the City of Pharr. The Unlversity of Texas Pan American is located in the nearby
City of Edinburg, approximately 7 miles from Pharr,~ and, South Texas Co|lege is located within the
City of McAl|en, approximately 1 1 miles away.

Government

Pharr operates under a city manager, mayor and city council form of government. lt has a
police force, a paid and volunteer fire department, and in add_ition, supplies the usual city services
of water, sewer, garbage, and trash pickup. The zoning ordinance that has been adopted is the
Southern Standard Building Code. No rent controls are in effect. The city has public housing
pro\`ects, which are well managed, The city receives two percent sales tax revenue. This is bringing

an increasing amount every year and this revenue has been one reason property taxes have

 

 

Aguirre & Patterson, lnc. Page 21
Appraisal Report of the Stambaugh Bullding

 

Case 7:15-cv-00465 Document 1-5 Filed in TXSD on 11/06/15 Page 52 of 70

PHARR ClTY ANALYS|S (contlnued)

remained stable in spite of higher city costs. The City has been politically stable over the past

years and has responded well to the demand for municipal services.

Housigg Develor_>sn§nt _

Tourists and retirees are rapidly adding to the local people's demands for housing and all
supporting facilities in the City of Pharr, within the past few years, we have seen the development
of mobile home parks, apartment houses, new condominium protects and numerous singie~fami|y

subdivisions Demand is thus evidenced for various types of real estate.

Economic lndig_a_tor§

The MetroMonitor, has been tracking the economic recession and recovery in America's 100
largest metropolitan areas. According to recent reports, "by the fourth quarter of 2012 only 14
metro areas--six of which are in Texas_had fully recovered their pre~recession employment levels.
They Were: Austin, Charleston, Dallas, El Paso, i'iouston, Knoxvi||e, McAl|en, Ok|ahoma City, Omaha,
Plttsburgh, San Antoni'o, San Jose, and Washington."2

CNN Money, among others have identified the McAlien N\S-A as one of “America's Most
Recession-Proof Cities" and according to the Councll for Commun|ty and Economic Research in
January 2012, the McAlien MSA was identified as the 4th least expensive city in the United States
to live in, with a cost of living index of 15.5% below the national average.

The McAlien Chamber of Commerce publishes the McAiien Area Economic Pulse which
measures the economic activity for McAl|en, Missien, Pharr, and Edinburg in the following areas:
retail sales, motor vehicle sales, lodging tax receipts, airline boarding, construction permits, new
home permits, home sales, average home sale price, Hidaigo bridge crossings, peso exchange rate,
wage and salary employment, and unemployment The data from the Chamber further supports
the trends witnessed in sales tax and building permits, that being a trend for a tempered recovery.

The Chamber‘s report is provided on the following pages.

 

2 ltttpe/fwww.brookings.edu/researcltl'lnteractivesfnte|romonitar#Mli2580-!his~qtr-empioyment~nv
Aguirre & Patterson, inc. Page 22
Appraisal Report of the Stambaugh Bullding

 

Case 7:15-cv-OO465 Document 1-5 Filed in TXSD on 11/06/15 Page 53 of 70

PHARR ClTY ANALYS|S (continued)

 

 

-B-'Ic.All'en _- Mi_ssi`c'm --liltiitllttlx‘g'* P_h:ll'r' n

§§th 2014 iii-cti)'m)zsii§e i’u'i.se

   

 

The McAllen Chamb_er of Co.mmerce Economic Index

‘90 .__..._..____-_ __ . __ _______._..____.. ,..___,,. _,_ ..._. _. _______ -__ .. ..,~.___.._..._. .__.._~._....,..__--...,._,..,_F__

 

HtS.

 

 

 

iam

 

 

-_ltiii. n n n j n
1'.-'3.5 1"»'it.'r 1‘_»'8.': .l_ n ._1‘?9.4

 
 
    

 

 

 

 

 

'_`t md

 

 

 

INI)_EX (Ease=t 00 san 1996)
The economic indzu`tors on pg. 2 are used 10 fbrmu;ixte the overall economic pu£se.

. ` ' '17°»3 i'rii.l' ' ' -
iso;o_-,,p-`_r"-.\__ms.et
_ . - - ~0~~
-WtL-| lhs.n" lg""
_ _ "‘"“$“"'"'
-‘“"’ H;J'" :m._s
. ,,A&_,_L- me.s ms / ‘»
3““"100'.` '*~s-_.__
/'10'6.¢.1 ` 9 d

 

 

ms. w/ .
_d_,- .
Q.-..»_-»~.&""" l§l\_ 't' ' n mi a
'16_3. ti 153 5 . _ ' __B_’_`°°”____ ____

Jan. l`\`cb. Mat'. Apr. May Jun. .iui. A_\'tg. Sc.}tt", (.)et. Nov. i)cc-.

 

 

 

 

 

Aguirre & Patterson, inc. Page 23
Appraisal Report of the Stambaugh Bullding

 

Case 7:15-cv-00465 Document 1-5 Filed in TXSD on 11/06/15 Page 54 of 70

PHARR ClTY ANALYSIS (continued)

 
 

  

_r.)`Mt"c: ._ ' ' f."'rI-t`xts\i" L_As'rt'tz:._;'ctz
simons . . _ _ ..1111.1~-2111.1 _ . rnur-2103

 
 
  
  
 
  
 
 
 
 
 
  
 
 
 
 
  
 
  
  

  
 
   
 
 
   

Rét`nii-S~aiet i$OOO's - tune in 199551
l't`l'rt\'lll Sales {5000'5 - 211¢1 Quattcr} $-_

iiui.'.tii 51111211$000'1.- Year-!o-Dale] 51',9'71‘> 727.
Drtliru.t. S|tt:-t\t art Auln Frllr’ hams L'$l`t[i{]' 1- 111111='11_1 1\1.¢1_">5_'| 512{) 709 _
Daliars Spulti un Actlct i-'urr.lmses ESUUU s- 2111| Qu\tti.'ur] $__303,011_'1-
Duii.us Sprtttl un huie F'clrr.ltn'scs 1500st YTD] 52431‘15.3. '
Lttr|r]in;] Tm< iic~.r, aims {luttr.\i ` 5309 6 _i_t»‘
LodgingTox iiec eipts {Irtd Octatter\ 5000 276
lodging tax tier.eipls ¢¥i 131 57 008 024
7itiriiltrl [iaaulirtgs lium.»i 39, 391

hilline Eonuiut_qs lind Ou;tt ter} ' 105 75_7_
Airiine Boardiugs (YTD) _ 101 BB£_\

anue Ail C¢nstmctiott Petmits iiuna) _ 311 632 139 _
Yoiua Ail _Cottstructi'on Permits (an Qurcrter} 51 1443_5.'1'09 -
Vtiue Ail Conslruciion Petntils (YTD) _ ` '52 20 _62_5, 706
New Honte permits (Junt.~) _ 1171

New iiome Ferntits (an Qum!er) ..35'."1 j .

New Holn_é Petrnits (YYD) . -` `
Hotrie Sales (June)

Home Sales ian Qunrter)

Hmrtc 5.1|esl,t"1'Di

Avut.tgo !ionte $a|c Price itune'.\l

marano l-iorne Sn|e Price (21111 Quctrtert

Aversge Hott\tt hale Price ('71 D]

Hir|ttig:>77ir1zr1|duas Brir.ige Ctotsir\gs Unrut)
i'lirirtign,’A=tta|dtms Brtrige t'_rostings (?.nri Qunr.rer)
Hicizc|got'Anz 1|d1.¢.'ts Brldge Ctos\ings (1'1[.\]1
Peso!Ooiiar Ex<|wnge Rate iJuuei

Etttpioyltte¢tl.

Wage 81Salatty|:tttltiuyuterttijcmei

Waqt.- 81 Sztlnty Entploycurtnt |YID Avg)
Linempirtyutcnt tittle Uune\

Ultontpioyrttertt Rate [YTD hvarrtgc_i

 

lui)rx Mnylusse=toutsntst%) _ ' '131 s

 

0 ftrSt_-gix months

 

 

-.~ ’-]‘h'e_ McAllen ecattnttty culttittuitr_l rci improve through tEtiri- war zettrd\c~itlt tire Mr_.~'t.iion I`mltmttrr Tn`ci. _
113 .6 i.`tt JunaNp- {r'mt\' 10¢. gittl\ ar, and up 1 ?%fr am o qute 20_13115`.1.£158,5711'_:1.111116 110_14 litci`o`x \`;. _
'lti\ terrian ovet\'tlta r 2006 , act w 1,10\\+-2_1111_1'11 hyles-s 1111_\'1_15 1"%. compared tot 113 11-11 lictte Mc`r\__ll_dtt 1-'.¢01_1¢_1 _ _ `
p_c. tgoeaciuovcdtu..i'citutty audit ` ' ' _
» 'l`ita emttattty intprmml at rt tamm rate.' 111 the first 11 111nt tire tear and ut 1110 second quarler, ct*it.it 1119 MrA]l¢-_n
Emn¢:ttttlo index from J:ttt\t¢\ry- dam inaeasin§lict 1111 mutualin raw 01 0 596 amd growing al .1 3. 596 .ttmu.ti{.c ec\ me
tt 1110 s tclqu.ttt.¢.>r. 111 ostsfcto"s ‘soi 1_11|0 11-|¢1 mt muir .ue wool my w tic-1196er a thtcpouet_tls_ u[ t]t§[t" cu
Nttt_mt tr ttrlctx. areiltiprnwr 11| t te 11'11 -1tolt11 unit , w.tt t on ytnt¢ construction (btti drug prrttuts istnt¢.- }rutt. trtrdnc
cro.»ctittg‘:- down tiuri:ltlg 1 qutc\ cotttpnleci la your ~ng»:t 1,\\.¢11).
` - Gtmitrttl real {ittfi.tt11:\1€'11-airlitttst¢ttd)f Sp_ottdittg per 11{11_1 1111)_'. sales --tnx meet tis \\ms tt],t' 1_.\}‘ trunr ly 555 itt the second 1111 rto_t_'
_'_c-_ot_\_tp_'.-tr_a_¢ totit estech 11._111 teroi r1 year ._1 q, am tEtlt;:;]'.me_- -tttttttt|il_vlo` 11111¢111`\11111 sitatp§;b 3?§. compared l¢_t__ §_tl:§" uttu -
2014 tom _d`lid\t_.t'\' t iron te ycatr, tcxa _'1‘.- spent itt up 1>_)' rt sc`t_li'd 350¢0\‘1111.'111\1¢1§0 t
year ..
- Etct]tioyttt_cttt tnttt:tlst thtt~c\e¢:tt't_llwoi itclit<» Mcjrlcuottttt tm.\w.t but tltap.too:.t agta\vtitlms sIu\ruci-titt'ou 11
§11_~5¢.11‘ cctilt tita nctrct r of}obs tn Jmtct` increasing sbic ot y a 1)0_1\1 1. 355 compa:t to J\uut of 11 year nga rn eetirt rttltekg
§§1111‘1_‘11)1¢\1[.11>¢1113;000 jobs mm litol last 12 ut? nh_s 1111 uttetttp stat 111 t-]`nt? itt icatesa ttct_rm.t hensoan tie from
mr to cuw, ialtc\l ecc_ttrocttttoamtre 1a J\utc o t ts \)¢m_ com trc 10 umw last[ ur mc>'pna_r Jcttre], mt 10 uncut-
1_.) Ioi'tttettl 111111 ofq. 1055 tuJuclu _201¢| attt_cpnro:t iac'r:t' ly 11ti.1t te ..lt 11‘-'1*.»11:111'111' uttet`tipioy*tttutlt'111117.11111 1:[.'1 yetth rtch

l'1'155.1_!._'1:1_'ict\_l-ts mtttaitt`stwt tn Me_A]le't ptriti_titr gm" into moot 11 temwr\+ ltciiiti tutt- adjusted spottdirt putnam
-.rtrtdttse¢i 111 loilroisiles_ \v.'.\§gtc_plty decidich % int sueottc1pc:l(y.rat~oimr-_ear and }:.`t_b__ot'r`\ 396 itt _.lctt\_r».' _.Ei"|t'us 1'.'t_r- -
_.§_11 gotr-,_re. tanto it;`)_<.tt`tdit`tgts \tp by -son__tc j'. 3_% reinhath to_ e- midst six _m_att_ is 1111 a y_c_t`tc‘ a_t_g,tt_-

~ Tlta travel and 11:111)~1 m indicatrir alth stan gattu cnattp:t,re iu year~.\g,o `e\'e`s 11'§¥111\0[:_#1|7'1111_1191 tax receipts mtd
airport passmtger ett\t nnt\l'ttettr,=jto 1111111 t)' neal \' 10% ctrttt_tpnt'._ trt)'i!.=tr -agrt r\'¢\ s.

'-v Coctstr\`t ir`t` ' dmwthtzolq popkin eax~ovar-laardrciineeiortitn mgnt_}c_._q art r, .1111.1 rear tci- -'d`at`¢.` The

Sazc) 613 linn itt_i)_c _ merits-21th wuft' `y_t_t'erixl' taro`:`tt m to§n.\ci‘umar} -Jtritet_ot_ni 111

' itc fit§lis st -_o't llc? utstR-r tgutitsafth¢r cars;c oro._\:ictttta ng___t_tt end 1a _s'e '
with te;t_t_ ‘-iutw\t_fHl si mtiij`trctzi nos maritucai)lnlsrltj£u§ug '1_5‘_7_1'1___ord11g1micnt ‘at 13

c-c)%f ref "51:1:11‘1 c*'. iota ct 0 ' permits lieu trt Mc. rtt, sscon,.tr glth rst_ rcr-131 dirt

Ja`u`tttcr)_‘-d\t_'tte.` toto since -_20_1,1`)_. ' --

- 'l`lce literiliatt mcler area residential re.t]. ostan trt.t.tlr\‘li c'etttztitc§- 111 ite.tlllty coctditiou 1111|11 modest inc-tomas itttite
muner of holt cs sol dac ritiitr_cg,lh p ices. Tit ]`rmuube oIc sal ccc i:,_ 111&)111 111' univ ai torn tate yc¢y:~otm~ye_tH,bct

comes on report 1093 gaittt cruttg 'hciuno u i'astwar. mt ruth 1?‘371 gain ittcug him-ue a tim pratt year 10 secon
quarter aver ge price \rtt'r lint col hired to }'o.tt~aa o low s' 1101\:0\'41', tito second quarter 2013 m erase horne squ ice
wm upr over 1073 mtttp.tr-td to tt te ptsor )e;tt. fire mci olim vollutte nftcsidntt_iin] read estate sales nclit'it) iss nwlz'
but very stearle ott litc' nst.v. and ls upby 11 rusperlnl.tirx 353 cotttpm‘a.l to tire limit six 1111.1117.11:1 012013

y

      

 

Kev Poixtits

 

  
  
 

 

  
 
 
  

  

  
  

   

 

 

Aguirre & Patterson, inc. Page 24
Appraisal Report of the Stambaugh Bullding

 

Case 7:15-cv-OO465 Document 1-5 Filed in TXSD on 11/06/15 Page 55 of 70

PHARR ClTY ANALYS|S (contlnued)

 

According to the Texas Employment
Commlsslon the_ unemployment rate for Pharr as of
May 2014 was 7.3%. The rate for Hlda|go

 

 

 

County for the same period was 8.6%. While the

 

county's average annual |ob|ess rate is higher than

 

 

 

the state average, this ls typical of the locale.
Hlsiorica|ly, unemployment rates increase in the

winter and summer months with a decrease in

 

unemployment typically seen in the tall and spring. This l's attributed to seasonal decreases within
the educational institutions related to the summer break and/or agricultural harvest perlods;
however, the national economic condition has in general resulted in higher rates than what was
observed ln 2008.

The Labor N\arket and Career lnformatlon Department of the Texas Workforce Commisslon
examines and provides statistics for various metropolitan statistical areas. The LMCl's snapshot for

the McAl|en-Edlnburg-Mlssion N\SA is presented on the following page.

 

Aguirre & Patterson, lnc. Page 25
Appralsal Report of the Stambaugl\ Bulldan

 

 

Case 7:15-cv-OO465 Document 1-5 Filed in TXSD on 11/06/15 Page 56 of 70

PHARR ClTY ANALYS|S (contlnued)

 

      
  
 

: '{H_.. _§GJ`.'-.-_ _-.
|hd s\ry Gompc_)s`i_lion
ne

   

wm W’°°`“"` WRH€‘$__W |ndustr.y fin mi||lons]
u-JWWM la1l'.luono1 2614 smu

   
  

559-1

a\‘iNk-,`Ym‘xom$:n_ va wqu
'¢')\\w\\‘.m

_ $§7\). l
lina-id H€.me

z‘»‘l~tu"x\'¢ m 1\)~).».1; '- mw

~'M¢'ud'~\\ am .-n'-n z+'r.-'n x- _
. ')H.`F

 

 

 

 

vtso.~asnilb>:m; n _ law-h

'M,al¢e .'xl an 5 lule

u¢'r'¢»'vr¢~ac< $}95`;
new ' ' guam 'm.@_ zal;zm 2,600 ma won 1513 o loew ah 67..70! 1935
Mnmgl. i.fa\s,r'nn, and f.‘¢lusrr\m lmde 1.\__."»011 wm 100 \. m ~1|)§1 .l u-»' v tN-\.Hl rul mem mm
Mrd<d.l!`lrn 1\.100 0=100. 6,2(`)|) 0 0 D‘)’o - \00 -1~6°.-‘6 `f 2€41490 06 35,1126 1435
Twi!a `flunsi,‘mlu\foll. und_ Uub[i\is £4)'.900 50.900 50_?00 0 0.0'%/ 700 |.4% 5 l(£-’Mfl Ql4 3?,4'.\1 t$¢*.k
mcmann 2. lou mm 1220 0 0_0‘.1'. . \0<1 .4 ms s 541-90 200 19,022 0.4%
munn-n .\r_!Lmos 3 .nm alarm a_mn leo \.1% n n ma 4 mma 617 N»_'X\:i l l \v‘.
|"wi‘w~*\#ma|m.|\'!w!m S»u'»n`ces l5,m0 15,200 l5,1l§0 460 2.6% 508 3.3‘.'» 3 l0~1ll I,'ZIB \7,17| 7.2%
wlucnv'.m ml MJ\ Sewu'§\s 5‘)_,000 61,500 60.:$00 we 0.8'>¢- Lrou 2 s% 2 59 \,895 \2.£»\3 5.3§'¢1
mwlo onglloswo!m 2 l wu uaw 21?0\) 100 0§5% 300 I.A”:§ 1 l»’< 4,~\'50 9_5:~'1 d,u%
ner awo\s .‘.,rm aim a,mn >m -:» .‘-.~.\ » 103 :1_1% n n m rr rr_n\¢.
$w~irlllml 52 $|JU 50,500 bl bhd |._UOU .W$¢ `L‘»\lil l,!‘_!d Tllld B.WJ 233,5$? IIJG.W¢

I ¢ §

 

   

 

§§§ §"§§'§§'§ §§§ -1' . _ -; --

' I_.r§)j'_.§_§'-j{n'§_.l_im_n

:`Em|l. ".J'n.r_i_ivip, _ . ..

l'.':m.a ma .lr_\o.~w¢o i-*.'H.'wtl mm 0

,nu»w _:¢m:a . umwa v)_§;~,\'em rm ' ‘_ `-1.¢.1,§'1:; u 14'/:;»'§.1\ ¢n,:\u;/u
. -l:'. :no.u lamb _ .1_1:§»'.».11¢_1. m,w'.u_ u_¢w.u

Np»d‘_' :

 

 

 

 

.......' "M":`~' .].'i\.,l§.'.'§.'{¢;.`g$ u"»

-lrm

 

 

 

 

 

 

Agulrre & Pcmerson, lnc. Page 26
Appru\sa| Report of the Stambcwgh Bullding

 

Case 7:15-cv-OO465 Document 1-5 Filed in TXSD on 11/06/15 Page 57 of 70

PHARR ClTY ANALYS|S (contlnued)

§g[[]mgl'z

|n

l.

review we conclude the following:

Pharr enjoys the benefits of a very productive agricultural region.

 

2. The mild climate and plentiful recreational facilities are encouraging a rapidly increasing
tourist trade.

3. A plentiful work force and aggressive industrial recruiting are encouraging industrialization.

4. The city is stable politically and ample educational opportunities are availab|e.

5. The City of Pharr is growing In population, in retail sales and in size and can be expected to
widen its economic base, continue to grow at an increasing rate, and property values to
increase in tune with the city growth.

6. Pharr's international Brio|ge along with implementation of NAFTA should enhance growth in
virtually all aspects of its economy.

Aguirre & Patterson, lnc. ' Page 27

Appraisal Report of the Stombaugh Bullding

Case 7:15-cv-00465 Document 1-5 Filed in TXSD on 11/06/15 Page 58 of 70

ClTY OF PHARR MAP

-. n .£ -.E:_: n

 

"”l.¢l¢' '

 

_._‘,cg
..=°"""'.
:\.-*“

 

s¢-_-¢,l_._| l

 
 
    
 
  

'*.`x_~;.
~'-\:`~m..,, ‘( __

-.'-.1.

' "“>.~-"_n .
- '.¢'~..;_.

¢'7',\-\

 

' -- .._\,,,

 

n'.-...,1 .

     
 

_ ' ."l"'l‘"u.-. imm .
. __ . 1" . `

--..: _

' ' ."‘“-'.Y'i'h_l

`.-*-=-'..' '

   

` .`°.".-»'».-'.

     
    
   

" i'~li__'_:rl.l_'t il-;l_;._§`§"_t

-4'»---4 .

n -"\'J.~" ..

 

.r

  

l't`;":l"i_i'§j§§§.

 

" '-..i_"mri. .'

Wl"~l.. .

   
 
 

`""-o¢,

f'F"“-é.»u ._

.'h!
_ _:¢ .__i:
. vPlL\II
- l
` "‘~-»-.1,>. `

 

 

-'.¢ _[,.»_:.',
.:\,,"_!M\l.‘{.._
` "-"-'-':~'-'»..»-' . ':'- ~§.a, -'
n n n -`.° ""‘.u. ? .-
5 ` ';,-` '.t:‘\»'~u,. __

 

 

" \`."»=§.§.¢t' . .q

 

 

Page 28

 

 

 

Aguirre & Patterson, lnc.
Appraisal Report of the Stambaugh Bullding

 

 

Case 7:15-cv-00465 Document 1-5 Filed in TXSD on 11/06/15 Page 59 of 70

SUBN\ARKET ANALYS|S

According to the Appraisal lnstitute, The Dictionary of Reai Estate Appraisai, Flfth Edition, a
submarket is a division of a total market that reflects the preferences of a particular set of buyers
and sellers. According to definition, the submarket is considered to be the land along both sides of
US Business Highway- 83, bound by Cage Bou|evard on the west and Veteran's Bou|evard ("'i" Roaci)
on the east.

US Business Highway 83 is a secondary highway running through the business districts of
many of the main cities in Hidaigo County, Cage Bou|evard (US Highway 281) is the main
north/south commercial traffic artery running through the center of the City of Pharr, Veterans
Bou|evard (i Roaci) is a north/south traffic artery. Access to and through the submarket is good due
to a network of paved feeder streets.

The submarket is located in the eastern sector of the City of Pharr and is characterized as
mixed commercial and industrial development, backed by established residential development in
the western sector.

Commercial facilities are typically owner occupied. Vacancies appear low, even during the
economic downturn in 2009, demonstrating excellent population support for commercial interests in
the area.

Property values have remained stable throughout the past few years and supply/demand
appears to be in balance with az marketing time of approximately 12-24 months depending on type
of property and size. Current market indicators are for steady improved activity for the remainder
of 2014. Pub|ic transportation is iimited. Emp|oyment opportunities, schools, and recreational
facilities are readily available throughout the submarket. Ther`e are no apparent adverse factors
affecting marketability.

indicators are for continued improved activity through 2014 and with continued population
growth, development in the area should be steady in the years to come. The submarket appears

economically stable at present.

 

Aguirre-81 Patterson, |nc. Page 29
Appraisal Report of the Stambaugh Bullding

 

Case 7:15-cv-00465 Document 1-5 Filed in TXSD on 11/06/15 Page 60 of 70

SUBMARKET MAP

     

NOTE: Dated-imag,e. Nottai<en'at.ti'me` ofinspection.

Aguirre & Patterson, inc.
Appraisal Report of the Stambaugh Bullding

 

Case 7:15-cv-00465 Document 1-5 Filed in TXSD on 11/06/15 Page 61 of 70

SlTE ANAi.YS|S

Not Appiicab|e. At the client's request, the land component has not been included in the

appraisers' retrospective value opinion.

 

Aguirre & Patterson, lnc. Page 3.i

Appraisal Report of the Stambaugh Bullding

 

Case 7:15-cv-00465 Document 1-5 Filed in TXSD on 11/06/15 Page 62 of 70

DESCR|PT|ON OF |MPROVEMENTS

ang- rgl De§g£ipt|on

The subiect prgp_eytv consists of a detached building only. Ai the request of the client, the land
component is not included in the retrospegtive value oginiog.

The sublect building is commonly referred to as the Stambaugh Bullding. This building
contains a total gross building area ot approximately 10,692 square feet. According to the
information available, the building was constructed in the early 1980's. Construction is of concrete
block perimeter walls with brick veneer on a grade~level concrete slab foundation with built-up roof
cover over metal panels over steel frame. The interior of the building as of the effective date was
partitioned for use as classrooms and restrooms.

The appraisers estimate the sublect's effective age to be 30 years with a total economic life

of approximately 40 years.

§p_§§lfic §Qnstrugtion Dg~ sgriptlon:

Foundation: Relntorced, grade-level concrete slab and beam system

Exter-lor Wai|s: CMU perimeter walls faced with brick veneer, minimal commercial grade windows,
commercial grade doors, gutters and downspouts.

Roof Structure: Built-up roof cover over pre-engineered metal panels over steel frame

Flooring= VCT flooring throughout

interior Walls: Painted/textured drywall, wood doors, metal door iambs, vinyl base board trim

Ceiling: Suspended tile with florescent lighting throughout

HVAC: E|ectric HVAC throughout

E|ectri`cal: Adequate service, wlrlng, outlets, and fixtures

P|umbing: Adequate service, suppiy, and average quality fixtures

Property lnspeclion Disclaimer.- The appraiser is not a licensed property inspector. The Appraiser has
inspected as far as possible, by observation, the land and the improvements; however, it_ was not
possible to personally observe conditions beneath the soil or hidden structural, or other components We
have not critically inspected mechanical components within the improvements and no representations are

made herein as to these matters unless specifically stated and considered in the report.

 

Aguirre & Patterson, |nc. Page 32
Appraisal Report of the Stambaugh Bullding

 

Case 7:15-cv-00465 Document 1-5 Filed in TXSD on 11/06/15 Page 63 of 70

DESCR|PTlON OF |MPROVEMENTS (contlnued)

§;gmment§ Rgdctrdlnct Candition of improvements and Environmental Concerns

The appraisers have been informed that as of the effective date of the retrospective value
opinion the subject building had known asbestos containing materials (ACM) in the floor tiie, as well
as certain hidden physical deficiencies that were not known as of the effective date of the
retrospective value opinion, but were discovered shortly thereafter.

With respect to the asbestos containing materiais, lt is understood by the appraisers that the
asbestos containing floor tiles were in good condition and not considered friab|e. However,
removal of or altering the ACM would have required abatement and remediation by qualified
professionals The appraisers have been provided an estimated cost for abatement of
$15,000.00.

With respect to the hidden physical deficiencies, conditions known after the effective date
are considered relevant to the appraisal assignment Data known subsequent to the effective date
may be considered in developing a retrospective value in such instances where it is reasonable that
the data would be reasonably considered by a buyer or seller as of that date.3

To this end, it is considered reasonable that a typical buyer would have conducted due
diligence in the evaluation of the sublect improvements to determine any physical deficiencies This
due diligence would likely have included exploration into the structural components of the subiect
buildings and a adequately conducted investigation would have revealed the physical deficiencies
that existed at the time, These physical deficiencies include the foilowing: no brick ties between the
brick veneer and the CMU perimeter wails, no water proofing on perimeter wai|s, and no insulation
on perimeter walls.

An estimated cost to demolish and make necessary repairs was provided to the appraisers
and is included herein on the pages that follow. The costs are for two adjacent buildings (the
subiect Starnbaugh B_uilding and the Textbook Building). Separ.ating costs for the subject building
only indicates a cost of $268,493.00.

 

3 The Uniform Standards of Profess|onal Appraisal Practice, The Appraisal Standards Board of The Appraisal
_Foundation, Effective january i, 2014 through Deceml:ler 3`|, 2015, Statement 3a Retrc_:_spect|ve Value Oplnions.
Aguirre & Patterson, |nc. Page 33
Appraisal Report of the Stambaugh Bullding

 

 

Case 7:15-cv-OO465 Document 1-5 Filed in TXSD on 11/06/15 Page 64 of 70

DESCR|PT\ON OF |MPROVEMENTS (contlnued)

 

Bui|dls Br i< wnof.o_tt R irP i |D ii

War|¢ Segnrenl Sto`mi:`mugh Texthnoir
saw cut $iO,i 110 $i 2}480
demolition sza-,ooo st 6,600
demo pick up $28,000 $16,800
rental $4,554 $5,566
debris loads 516,819 $20,556
asphalt repair $i ,i 25 $1,375
wood blocking $3,025 $9,318
wood blocking $757 $i,829
roof fix $3,200 $4,560
metal studs $8,874 $i 7,’980
$1,333 $2,667
$4,5,53 $9,'| 07
$3,036 $6,07\
$2-,881 $6,130
$556 $l ,l 17
53,9\4 $8,009
$2,476 $5,340
tape,f|oat,textureipaint $2;800 $3,990
electrical $4,9'50 $4,950
brle $i0,7_70 $i 2,797
$14,14'4 516,806
52,461 s2,925
si.,s24 si,s.z<)
$320 $38,0
$3,396. $4,034
$1,325 $l,575
397-l $1,154
$5,3.99 $6,4] 4
damprooflng $i 6,800 $22,980
$~22,'400 $30i640
flashing $2,400 $3,420
s1 ,600 $2,280
32,400 $3,420
$i ,600 $2,280
$1,200 $1,140
$BOO $760
Pioster $28,000 $38,300
COST $248,605 $30_7,879
lNSURANCE i°/o $'2,486 $3,079
BOND i°/o $2-,'486 $3,079
OVERHEAD i°/o $2,'486 $3,079
PROF|T 5% $12,4 30 $15,394
TOTAL COST $268,49'3 3332,5\ O

Aguirre & Patterson,'|nc. Poge 34

Appraisal Report of the Stombaugh Bullding

 

 

Case 7:15-cv-00465 Document 1-5 Filed in TXSD on 11/06/15 Page 65 of 70

DESCRIPT|ON OF lMPROVEMENTS (contlnued)

ngi|dgr's §g§t E§timat§:

 

 

 

Teer Descon -r, 'P. dora mata 'rHoW\-e J.EFFsiRson E/'nzc_~r causes H,_s._ DATE: vr.:'r)
_ llDemuii_i_l_on 551 t62._215
__g wood tz_iqcki_ng_ s 22.630
_s; arrest since .`Gyp Bd_. sr partee mass ~$ seats
_____ jt ilein_tin'g $ 1`6`590
5ril'inisit __§____ _ ______ETU,G¢M
6 opndn_`f¢r\viqrsi Pénels s` 1_45.$60;0‘_0
s ` s_se“,a ad
insurance 1% '8` ' n 5.5.65
sons 1% s 45,566
`.Qver_hea'd -_1% $_ -5.5§5
P.rqii_t -5% _§__________”___M__z_r‘§g_»§_
-' § ' ._..__..,§0_1-@~?>_

i
.|

 

 

 

 

 

 

 

Aguirre & Patterson, lnc. Page 35

Appraisal Report of the Stamb_augh Bullding

 

Case 7:15-cv-OO465 Document 1-5 Filed in TXSD on 11/06/15 Page 66 of 70

DESCR|PT|ON OF lMPROVEMENTS (contlnued)

 

 

 

 

 

 

 

 

 

    

 

 

 

 

 

 

 

 

 

 

TEXAS DE,S_CON L.P. 11111;1.1§¢~1; 11101_1_1§.11111‘211110111111111.<11:111,§§1;.
MQALLEN E§AS _

j 11.-111“1:2-1_______|_:=”
r _ 1_1_113_____111111’11011 9111_1.~1 mrm u)¢n_` __]__c_`l_'" mma 1_11)1111.1¢1111 _ _quo
"_u_§________¢.emrr::)u or armpggan a ramsey 111111-11_111_011_ § __ _‘ _ - - '_ § § §§
§f_s_\_rntp__m:gr_\_ £\_iugz¢__d_un ll_x 1111 h]_g_v_ l__\M_Ql)_ _Wa‘ lai _ _ _ . ;_' _ ‘ . . §'

' :_Tanp_o<_agu\c_rq _r- 1_'1_9_11__11 _1_3*-1_ _11_191_1- fm ' ` §`_ ___
iam ________1:11§1 eysungga mng Waiig__f_or ___0_11_111_1111_1_1¢11 ._ _ § ' _ ~ __
§_1_3_1_`>'1111_111 11111=1»1_\1- W_'!_z=_!¢_>_'_omp 340 :_ 111_. 3 ~ - . timely
!13‘111_11_1_1¢_:1::1_11~11_11_»11\_*41`6_!!¥ 10‘ _C_?wp»_ 1150 '_ U 3 1 f ‘ ' 12,459-:

i
-'_1_1¢1110111¢ _ _ _,,______F___._,..~.,._._. ‘ ` '
_-_-'5_'¢"1'-1"»11?'-‘5>59 1
‘_111_1»1110111_1_1_1_=1'1_=-1_11_>9_111191= 1499 _"' 119 § 349-99
_1¢11=_§111111111 __ _ -' _ '- - _' - _i
51_1_11_1_19_11_1=1111_“_111.11~1~1411 111 _ 211 _ 11.11<>_<1 - ._ . 1
1 _. _l ~ 1 _ J_ .
rH_o!m§';'l!?.'!_p£§_M-Wet 11 _ _____ _ ,_,_;__. ~_
Z__Slnn1l._lal_g?}§|__h_$(_l__ _-_ - § - ‘ - ' 1
"1_41,11¢ _1_1_)11_'1_1 qc_)_»_» _1_§_0__<1 141;_\1_1_=_ 1.11111 _ 1`~`1¢ 1111 g§.cm .__
_' ' ' 1 - 1
§1__¢_1111111113`.1111 ., , -; ;. - - -_ ‘
_ '1¢11~111)411111>»84 " _ 1145 `H' __ 25 -_ `= _1_5550 _l.
' 1

l
rh_q~q_p_mom Ru11§1.11| _ __ ,. 1 '
-_§as_k_l_{_qo_ rd Hsnvll:rmmmnml &Bu_c¥i', 1' Hu ?_11‘10 - , 2.¢_1.1_\`1 '_
-'._1;_1_1111__§1_¢¢11~1£.1_1¢_2| _ _ _ .'_l Ml'; E_ 35125 _ ' ' ; 1925
!99.§€1!191_2_’_-‘¥519!1?1.199*.29° r'.‘.?.‘¢_*!‘! ._ 1 290 '-.‘1'1 _ 7~°. 1950 1__ -
`,' _ . . . _. =__ ‘ , z .E
-"11'~='¢111:0111¢1111111 -_ ;. __ ; _ ~ _1
qqu_m 1_1_1_11_111_ _ __ _ 95 `Ld_¢. . ;. §7.5_ §§ '; 3"-\'"5.
' __ _ . l :_ f
MBM_W_MN@ _ -i‘_ -`- - _
"1~11111“;1§91111):~111~11111 ‘ L‘- “°° ' --3'$“-“'
l _ '-` j
'1`¢;1‘!'_1'_\__1_.L l _g_"-.\Ml l _ 111.11:1]

_ . _ '1112;215
5"°"."°' H._...-..!....,,. \'|W.\" ..__-._..*.P.E..*!$!Em°“ ~_~.___......_‘_.;_.__,_~_-.
Agulrre & Ponerson, Inc. Pclge 36

Approlsol Report of the Stombau¢h Bullding

 

Case 7:15-cv-OO465 Document 1-5 Filed in TXSD on 11/06/15 Page 67 of 70

DESCR|PT|ON OF \MPROVEMENTS (contlnued)

 

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

'T`EKAS DESCQN§L.P, '111';64£€1'.: THDELJEFFERWN uaw cohi~_§m=.
McALLEN_TE;-u.\a _ _ _ _ -
' l | l__“__ llm"cbsr ____'_'i ` ' ' _
bt`s.¢l.:`?i@l . wxm mm l. l n l 's: _u.u§g- mu§£g; gun
§wwd_|_g‘l££lmg-Q F-nrap_nia:&r|go elBldg_ l 1 . . [
'531.111.1§¢1191_1__1§'1_111_~_11§1;1.11.: 1.§1!§;,,11 ` 1 g _ .~ - - .1
]=.-_.?1.>.=_.§1.?1.,53€!'*'.1!3`:.‘9.1§§:‘;&:§ i!.§§v. .1!1. ‘1'~.'6.. .l. '1;.?.1'1 § 1-1_1.¢»1);11 1.;1=*¢§
§Taz\b_=:_.\§lq)sg-~.szc11y_13‘:1'11;¢_11 1 ? _. 1 ._ 1 ._ 1
_ 2111_¢_'§'11 11.» _ 1 . if 3'.1)0.1). =§.¢wl .
§§j_zg__ 11 1.;1_ ma § mass _ 11_,?1:\3;. .
z ' ' §
§ - 1 3 `
.‘ - - - . _ §-
`»H£'.°.L “'.M!DJ_@_§L!£EQLW“.L_MH _.~¢H.._._._ - - -‘ ' ,
f`$io.r'.\_lzv.\i§.'r\ B¥-_lu" . 1- 1 ' j
;=:-_2_>.=.11.==,_1 ~.1!:1;:1111_§.115§.5 211 1_1 . w 111 11 m =~.\4- _
1`16.>\_1_\=.,0??§~9§!!9.. _, - 1 _ - ' -' 1'
§¢.-z_z:v.mo;.¢l~w¢»$:§€' 681 `\.‘ 15 1211 " eeo 1111
-`¢."Lol-|og--!_ll-(- Fedmn{ara n n - . § 1 1 -
§§13=1111111.11'_1.§.'11.1):1®.1.!1@ 9111111111:111. 1119 ..11.1 § -.__ § _ § 1291 ..a._wug
§§-’_'ex_vzf_>§=a_.!£ir»a _1._1‘11'1-=1@1=.1_1.111111111_.1 . nw '1.!_‘ s1 - _1"> 1111.1<.1; _2@_=‘19]
' § . l
. _ 1 ;
§ ` §
i
- l
~. 11 11 .E i
,. 1_1 ,§ _; . .!
1'-- ~ ` 1 * j . ,
. _ __*_; _ _ _ . .- ; .___`
T_OTAL _ __ " _ H Mo§§_ 11§5!§_ - j
' ` ` ` `22.01:1&
uh=otdo.WL mm _ vmoonmcmri@
Aguirre & Patterson, lnc. Page 37

Appraisal Report of the SYelmbuugh Bullding

 

Case 7:15-cv-OO465 Document 1-5 Filed in TXSD on 11/06/15 Page 68 of 70

DESCR|PT|ON OF |MPROVEMENTS (contlnued)

 

 

 

 

 

 

 

 

 

    
 

 

  

     

 

 

 

 

 

 

 

TEXAS DES_'GO_N l-l.P. ramey v tacoma Juvruusun-um.v german _
M'DALEE'N [EX;AS ' '-
_ - __ _ _ _gg_u com __H__I 1 _ 1' "'“"'1
` . g§e_cm _ avmm 1111 n _ 1."““`! 11 _1“" o 1»01\_ 1 wang _ m _1
?_.H»_.v_L__.=wd.-Lv_»;m__§!_~.:.¢_ign_s.§iiy!.e:as_=_»_¢_wwv_»1__ ____m_________ - ` » `1
§ ""sinln'_u;ngn §£l_ldmu kim _ _ _ _',r
=__ _ ,_ H*_“_'i!l _ - _.
:5* m e_g. h_e__p_r_gl __31§1_1§__® Pe_c_l_mp\or W_a_¢w 1 ervin 918 - - » §.B_`r»_i_ .
_lz_-_-}€_r iam anlarrm 1 13;=.;..11 ~ 1 . _ 1_3;,;3_
ilTypez.';r¢'_H_i:lr_“pav¢_Gde _ 1 _ -_\?-sax;o_ 1 . ' 41¢,_5;
`|.\R_' Q-__»§w. §%111¢_1_¢311‘!1 _S'~wlhvm 1 mm _' - . _ ;_1,_¢_;1¢.-.
i . . . 11 .. 1 . : ‘ * l 'l 1
= _ _______._1_11111_1_1_ ,. _ :. » _- 1 1_ _ __
§§_-.lg_@a._!_.`?g\_¢i§sn_~ia @_Hr;memrwans 1 1 § a_u_s_l~..:m 1 - E v 1 _'.311_:3_1
`_____ _; _ _~1 '- 111..121¢ - - 51111_
_1111»_=5»111*-111= _._1_ __ _§. -_=1_11_1'-1-._11 _ _- _l_ __3._11=1__
§1_1'1'"Ger»e_£¥¢§:.f§?§h_€l\sw“w l § ` § Mr.»\_ -1; ' 2._‘.*?__61
§ . - _'1
Toxil_Q§-;ul€flulld|ng __________“__________ - - . l _ _:_
_ *`.~Wl“.tf'i ' 1 ‘ §
§_1'1-_111 sa. 111111111 1_’1_1_1__3_¢1_1_§¢1 r_'¢_nms;_\wW-"v . 1 _ . _ - ‘_?F.w'#_'-: 1 - __ 1119§»_9._,
_§11¢.1§_.11¢_11 111111_=111_1_1_=_1_1 _ _1. ; 'Ww=w§ - - _; ¥M?;_
1qu F._om_~. llllL-_lmpgcl Gyp_Bg_ -1 9106.9__1 _ ~ ' u_1n? .
_ 11:» mm qm_e__=_r_za_)§,_s_mnu“'rm 1 1111'_11_.:10 ~ - o._n?_‘. _
§ -Mw _ l a n _ . . _]
§rr_rq`q._q. r.\ol¢_r_§pqs:@Fangrmmrwau; 1 2 111:_10,_11_1 1
§B-'Pl?¢u'ln§smo_v_ __ 1 j1_11e.s_1:1 1 _ . 1
T¥LW,X M§l.@fr‘ 511 _?. ; W_-.??__ 1 _
-.11'2" those _Es§a_g§:_r}:>ld_ .‘_S~‘w'_q\er\g l _u;iaje_£u\ 1
1 1 l
1 l
1 . 1 1
§|__ 4 g
‘. , ';1.
5 ` .»' `.: 1 _,;.
1 1
n ' §
1 i
‘ 11 §
1. _; § ‘ "
§_ 1 §' .' . ". 1
`Tc)'TAL _ - _' _ .l -._§ - l -s¢g;_§,j
`M.ma
s'\1'1wu11.o_______a_'»_w name - M!§LAL swos.:i!'#. BD&L\§_I;BE:;;»\$$
Agu|rre 81 Patterson,'lnc. Poge 38

Appraisal Report of the Stombcugh Bullding

 

 

Case 7:15-cv-OO465 Document 1-5 Filed in TXSD on 11/06/15 Page 69 of 70

DESCR|PT|ON OF lMPROVEMENTS (con'rinued)

 

 

 

 

 

 

 

 

 

 

 

     

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

TEXAS DE$QON L..P,- women . . woman asspmnaou.a_sm.v_aou.i,-BE
M¢_ALLE Texas _ ‘ _ ' ' ` .
' ` 1 gm cost ,________ 1 '
mosw`nml mumrr_ mm 1.. n 511 s man . MAYW‘AL mm _
1 \ _- .'._» -_.w.¢ n n '._ - l ' ., z
p¢lnia_r . lam F|oo\ 13 Tmcl'urn Wnl|n VSEM§I Pntm_ _
- - _ '. ' " § - 1 g
§ .Blumbnugh `Bu\ld|ng _;A________ 1 __ 1 § . ._ 1
"_1_1_111_1111_ _ 111_11_111=1.111111`11.1»11_1_1.1_!1_1=.1.0:1--5@¢ mw ; 11. _11.-.1 1111 l . 11_.11<11. 11.1.1111)€.
"F*.'*Il?iT-.-T_“.P,"“”f!%1°‘*_1.4999 4900 `-111' 0_-_7$ 1116 _u,coo =1_.0;11)`1
1_ __ _MTn-x'lbook au_§_r_i_l_i.i-_rp_ ____ _ ._ . , ',
111_=_1§1.1,11!91;%49.9'»:11“!~¢1_--51911‘111<1"-.§"111¢ 1'1_1_1_111 -i 1151 1 »¢1.1 -0-1 _ 1 11.-211_111' ca.z_em;
1 ___(;11_9'._-_!_§?9@ won _: _'1_1_` mrs o_-z¢_s_ _ 4.2?5'1 -4.2.7_,6_'1
L 10 ¢ :
1
'5 - !
11_-
1 j
_ 1 -
111;=.1:.1.1.1_=,;1.1”.# ____-*,. ._..M__ -_ -__ - - j
ilgg_.“qu_;\mmu 111¢¢111¢=1_:-,11___ __ __ _ 1 1_._¢ aim - gm
_-!111'111¢_11_11§WW_=¢!"A»_!\§»§!.§1\_?9#__11_11_ 1 .L_;» ; wm 151 4._9:-_°
1-.~ . ,-...,_ .1 _~, .1-'- . . _l d ' v - j
1_:_ v :
'-l. , ' , ' 1 l _1
1
- - jj 1 1' _
_T()TAL _ R 3,3\):1[ _ a.é_iéu_£ wool
` " mem
s'r_`»vo'a Np‘. __~___5_~___ norm Pnn~s.zme
A'gu`\rre 82 Patterson, lnc. nge 39

Appraisal Report of the S'rqmbuu_gh Bullding

 

Case 7:15-cv-OO465 Document 1-5 Filed in TXSD on 11/06/15 Page 70 of 70

DESCR|PT|ON OF lMPROVEMENTS (continuec|)

 

 

 

 

 

 

 

 

 

 

 

 

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

T_EXA$ DESCON l.lP. pnwec'r: 1»lg__lLus JeFrensqn umw comes
M¢ALLBN TEMB_ _ _ l .
_ d __}.~mr wall ___ _
1 _ mackinnon nummr¢|gmr \. ll 1 LA_g_n__v}_ _ _l_.,u_s§ml. guess
larr&ll_ _ _' _ n ,, __' - - _~
{$!_arnlllll»ah;a.'§ll_". 21._5.1.§ illle - _ l -_
!T'lzl!_=l¢»l=_k flew =l _?&.§3__2 .l‘l_.~";v.=w l . ,-' l lz.='»l_ly___
_r§¢l¢_ mm _. _.l » '. ., '_ _3'~"-95.9...
ivll.~=_lz~\m_= ll : §aos_._e__ _ . - - = '5.§-9@`
,l¢`l@rl_w-_=_ol \ ' 3.=.»5§ - - _ - l -`a._ss_z_j
ilwl¢_lw. '.*, _;?99,..§ .' - " . 1436 '.
:l_§§azwl l ;`,» ?42_9,§6'-§ - y § ?.§,a_ql_
illegal 11 _ .4 '=MD-H.?. . ' wm
"'%e'l;lll,l_.. .'% , ma `;. . - ' '=. _=:_._12_§ _j
‘_Uv\a:lle.-m Pl_rof~: ~l -- 11§4|_2.5_ 'I _ - » 1 11_._£§_1§ -,_
' l
l lt ~
.na_rl_pro¢ ll§q; _,_,__,___,___,,__ ,. . _._.,.._,__,_. ` ! l
§_$tg_lj._llzaugll mds ¢40{1_ Hh_ 1-1' lliuh =» Bt_lm) s_l ;5_£\_01'1_ _ s_l __ ;l _4_ 1ang 2_;; .¢l_lJ{_l 1l -
_rwml~._l; pl_q_;§_u- a"_l_`)_l_l_____§__:_' 414 _l_r,gl. n 1009 al map __l,l _ 3 4 realm 30.0§0 l _. _
l _§ . ,. l
§ ~-.» :. -' l
|l ~
-f_l_§§_l_!|r_l_g Mnnr lt Wlndow 0____<:111;39___ ____
= g_rrlb_ouql\__l:§l§£i__ _ . . . . l _ .9 -:, ' l
amgaomlxz'l&a _ __ 499 '- "¢ ..1 .3, .2 ‘ '».’_-._4.\`1.9_ . 1909 l
awdwlfl=z_l.a._a . w .'l.f. 14 2 § ;: 2_,_4_90._ "':“°~°
wm -' ll‘l"l!sl§',l‘-'% .199 lf.l=£"`" 81 9 199 _ 41 3 13 l 1999 . 999 1 '.
teavwl“_w- . § . . - '- § - '
i*!ll!_§ 9.'?91!’¢.9.1`3'?. _ _ _'\.-.1-49_ - l.f..-§.. 9 2 j ii-.-‘i.‘¢l?. 2-?.9.9.§ ~_
floo!______ _ _ 1199 l ". 5 :3. 2 _- 91-.'*.29 9-`31."9
_qq;ln §wp_dpwa_ 19__0 l_l_ x_' ’."`§ _8_' 5 m _ !l 3 _2 _ _1,_\4_¢_)_ 190 '
. _; ,'.,.
w;~_l;lg_;w _ ‘ § _. '
alwqu aa_g__ \-- lz_)_n_ l_l x s_.l n:qr._ 1 s_uqo al paso _;_l_ § 6 " » 38. nw
T.~_'».>=.\l»m alas-_#‘l°€'. ` `*'wv~fwsl_: wm __ -_¢.f_ _1. i salem
z - ` g '
§§ 1_ ~
TUTAL ]§ lsa.'lnu§ sz_aoe! _16~\.': .:2§_4[
` alo,lm
absolve ______§_._ ___'_ Illom) Fl_ly_all ___
Aguirre & Patterson, |nc. P,Gge 210

Appraisal Report of lhe Stambclugh Bu||dlng

